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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

BERNHARDT TIEDE, II; TEXAS PRISONS §
COMMUNITY ADVOCATES; BUILD UP,                     §
INC. a/k/a JUSTICE IMPACTED WOMEN’S §
ALLIANCE; TEXAS CITIZENS UNITED                    §
FOR REHABILITATION OF ERRANTS;                     §
and COALITION FOR TEXANS WITH                      §
DISABILITIES,                                      §
                                                   §
                 Plaintiffs,                       §
                                                   §
v.                                                 §                      1:23-CV-1004-RP
                                                   §
BRYAN COLLIER, in his official capacity as         §
Executive Director of Texas Department of Criminal §
Justice,                                           §
                                                   §
                 Defendant.                        §

                                                ORDER

        Before the Court is Plaintiffs Bernhardt Tiede, II (“Tiede”); Prisons Community Advocates

(“TPCA”); Build Up, Inc. a/k/a Justice Impacted Women’s Alliance (“Lioness”); Texas Citizens

United for Rehabilitation of Errants (“TX C.U.R.E.”); and Coalition for Texans with Disabilities’

(“CTD”) (collectively, “Plaintiffs”) Motion for Preliminary Injunction. (Dkt. 50). Defendant Bryan

Collier (“Collier”) filed a response in opposition, (Dkt. 69), and Plaintiffs filed a reply, (Dkt. 90).

From July 30, 2024 through August 2, 2024, the Court held a hearing on the motion. (See Min.

Entries, Dkts. 167, 172, 173, 174). After considering the parties’ arguments, witnesses, and evidence

introduced at the hearing; the parties’ pre- and post-hearing briefing; and the relevant law, the Court

enters the following order.




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                                          I. BACKGROUND

         Tiede originally filed suit on August 24, 2023. (Compl., Dkt. 1). He initially sued Collier, the

Texas Department of Criminal Justice, Kenneth Paxton, and the Texas Office of Attorney General

(collectively, “Original Defendants”). Tiede is currently incarcerated at the Texas Department of

Criminal Justice (“TDCJ”) Estelle Unit in Huntsville, Texas. (Am. Compl., Dkt. 57, at 5). Tiede is 65

years old and has multiple health conditions, including diabetes, hypertension, and COPD. (Compl.,

Dkt. 1, at 7–8; see also Am. Compl., Dkt. 57, at 39). In August 2023, he reported that while housed in

a cell without air conditioning, he suffered from stroke symptoms that were exacerbated by heat and

necessitated transportation by ambulance to an emergency room. (Compl., Dkt. 1, at 1; see also Am.

Compl., Dkt. 57, at 40). He asserted that fans and periodic deliveries of ice water and cold cloths

were insufficient to provide relief from temperatures that exceed 110 degrees Fahrenheit in cells.

(Compl., Dkt. 1, at 1). Following his stroke, TDCJ moved Tiede to an air-conditioned cell on August

9, 2023, but returned him to unair-conditioned housing only eight days later. (2d Mot. TRO, Dkt. 7,

at 5).

         On August 28, 2023, following his return to an unair-conditioned cell, Tiede moved for a

temporary restraining order requesting that Original Defendants move him to an airconditioned

housing unit. (2d TRO Mot., Dkt. 7). United States Magistrate Judge Mark Lane granted the motion

on September 13, 2023. (Dkt. 17). On September 14, 2023, this Court entered an Amended

Temporary Restraining Order (the “Amended TRO”) ordering the Original Defendants to return

Tiede to airconditioned housing for 14 days, (Dkt. 19), which the Court then extended an additional

30 days. (Dkt. 27).

         On April 22, 2024, Tiede moved to amend his complaint, (Dkt. 48), and on April 25, 2024,

he filed a Motion for Preliminary Injunction, (Dkt. 50), based on the updated facts included in his


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proposed amended complaint. The Court granted the motion to amend on May 7, 2024. (Dkt. 56).

The first amended complaint removed four of the five Original Defendants (leaving only Collier, the

Executive Director of TDCJ)and three of his four legal arguments (leaving only an Eighth

Amendment conditions of confinement argument), and added the four Organizational Plaintiffs.

(Am. Compl., Dkt. 57). Tiede and the Organizational Plaintiffs bring Section 1983 claims under the

Eighth Amendment against Collier in his official capacity, seeking declaratory and injunctive relief

on behalf of the entire TDCJ inmate population. (Id. at 53–59).

        On May 29, 2024, Collier filed an Amended Motion to Dismiss Plaintiff’s Amended

Complaint Pursuant to Rule 12(b)(1), (Dkt. 76), and an Amended Motion to Dismiss Plaintiff’s

Amended Complaint Pursuant to Rule 12(b)(6), (Dkt. 77). Plaintiffs filed responses in opposition to

the motions to dismiss, (Dkts. 87, 88), and Collier filed replies, (Dkts. 91, 92). On June 14, 2024, the

Court denied the two motions to dismiss, (Dkts. 76, 77). (Order, Dkt. 95).

        Meanwhile, Collier filed a response in opposition to the motion for preliminary injunction,

(Dkt. 52), and Plaintiffs filed a reply, (Dkt. 90). Prior to the preliminary injunction hearing, the Court

resolved a number of evidentiary motions. (See Orders, Dkts. 83, 96, 100, 108, 109, 117, 118, 131,

132, 133, 147). From July 30, 2024, through August 2, 2024, the Court held a hearing on Plaintiffs’

Motion for Preliminary Injunction, (Dkt. 50). (See Min. Entries, Dkts. 167, 172, 173, 174). Plaintiffs

presented 13 witnesses: (1) Marci Marie Simmons, (2) Dr. Antonella Zanobetti, (3) Plaintiff

Bernhardt Tiede, (4) Dr. Julie Skarha, (5) Charlie Malouff, (6) 30(b)(6) deponent David Sweetin via

video, (7) Dr. Susi Vassallo, (8) Michele Deitch, (9) Dr. Jhilam Biswas, (10) Dean Williams, (11) Dr.

Paul Uribe, (12) Dr. Amite Dominick, and (13) Britany Robertson. (Witness List, Dkt. 175). Collier

presented eight witnesses: (1) Bobby Lumpkin, (2) Dr. Jane Leonardson, (3) Timothy Fitzpatrick, (4)




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Cody Ginsel, (5) Paul Morales, (6) John Baldwin, (7) Ronald Hudson, and (8) Bryan Collier. (Id.). At

the hearing, the Court admitted 125 exhibits. (Exhibit List, Dkt. 190).

         On August 22, 2024, the parties filed their proposed findings of fact and conclusions of law.

(Pls.’ Brief, Dkt. 187; Collier’s Brief, Dkt. 188). That same day, the parties filed a joint advisory to

the Court regarding the outstanding evidentiary disputes. (See Dkt. 186). At this time, the Court

overrules each outstanding objection.

                                        II. LEGAL STANDARD

         A preliminary injunction is an extraordinary remedy, and the decision to grant such relief is

to be treated as the exception rather than the rule. Valley v. Rapides Parish Sch. Bd., 118 F.3d 1047,

1050 (5th Cir. 1997). “A plaintiff seeking a preliminary injunction must establish that he is likely to

succeed on the merits, that he is likely to suffer irreparable harm in the absence of preliminary relief,

that the balance of equities tips in his favor, and that an injunction is in the public interest.” Winter v.

Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). The party seeking injunctive relief carries the burden

of persuasion on all four requirements. PCI Transp. Inc. v. W. R.R. Co., 418 F.3d 535, 545 (5th Cir.

2005).

                                       III. FINDINGS OF FACT

         At the outset, the Court notes that the parties are in agreement that air conditioning all

TDCJ facilities is necessary as a matter of inmate health and safety. Collier himself testified that

his goal is “absolutely” to install air conditioning in all TDCJ facilities and recognized that air

conditioning is the best solution to reduce temperatures in TDCJ facilities.1 He stated that the

only reason air conditioning has not been installed in all housing areas throughout TDCJ is because




                                             –9; 254:24–255:20;
1 Final Hearing Tr. (August 2, 2024), at 179:5


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the Texas Legislature has not appropriated the funds for TDCJ to do so.2

         Currently, TDCJ has approximately 46,000 “cool beds,” or beds in proximity to partial or

full air conditioning, meaning that approximately 95,000 inmates are in unair-conditioned housing.3

To assess whether individual inmates require a cool bed, TDCJ uses a metric called “heat scores,”

i.e. a score given to inmates, based on certain criteria, which requires that they be placed in an

airconditioned cell. Approximately 12,289 TDCJ inmates have “heat scores” that qualify them for

the cool beds;4 the remaining 33,000 cool beds are available to inmates without heat scores.5 Some

of these beds are given to individuals without a heat score but who have suffered from heat-related

illness.6 32 of TDCJ’s 101 units are fully airconditioned in the housing areas.7 TDCJ has classified 55

units as partially airconditioned in the housing areas, though a number of these units have fewer

than ten cool beds.8

        A. The Organizational Plaintiffs’ Incarcerated Members and Constituents Face a
                   Substantial Risk of Serious Harm From Extreme Heat.

                      1. Lioness: Justice Impacted Women’s Alliance (“Lioness”)

         Lioness is a traditional voluntary organization “made up of formerly incarcerated and

currently incarcerated women, girls, [and] gender expansive individuals in Texas.”9 Because the

TDCJ currently houses people based on their biological sex, rather than on their gender identity,




2 Pls.’ Hearing Ex. 254, Collier’s Resp. to Interr. 17.
3 Final Hearing Tr. (Aug. 1, 2024) at 25:6 –8.
4 Id. at 25:3–5.
5 Id. at 25:9–11.
6 Id. at 167:10–168:3.
7 Id. at 14:19–23; 63:23–24.
8 Id. at 63:17–65:2.

                                          –22. Lioness is part of Build Up, Inc., a nonprofit organization
9 Final Hearing Tr. (July 30, 2024) at 26:19

formed under the laws of New Jersey. (See Final Hearing Tr. (July 30, 2024) at 67:7–10; see also Dkt. 90-1, Ex. L,
Toon 2d Decl. ¶¶ 1–2; Def.’s Hearing Ex. 30.)

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TDCJ currently houses inmates who identify as transgender women with men in its facilities.10

Lioness’s “roughly 700 members” advocate for “appropriate and livable conditions at TDCJ

facilities” and work “to get its members and constituents safe from extreme heat.”11 Lioness’s

board “consists entirely of formerly incarcerated women.”12 More than 400 of Lioness’s members

are TDCJ inmates, and about 250 of those members are currently housed in unair-conditioned

units.13 Lioness’s members all joined the organization voluntarily, support its mission, help guide

its priorities, and receive updates about the case.14 Lioness’s incarcerated members also “guide all

of [the organization’s] work,” by letting Lioness know “what’s currently going on in their units,”

and then Lioness “campaign[s] around those issues.”15

        Extreme heat in TDCJ prisons has been of concern to Lioness “from day one.”16 It is a

priority for Lioness because of its members’ “lived experience,” and it remains of paramount

importance, because Lioness members have “confirmed” that harm from extreme heat and lack of

air conditioning continue each summer.17 This has happened every year since Lioness was

founded. Lioness receives “[a] very large number” of complaints from its incarcerated members

“every summer” about the heat in TDCJ prisons, the lack of air conditioning, and TDCJ’s

inadequate heat-mitigation measures.18 The volume of those complaints has increased since




10 Final Hearing Tr. (July 30, 2024) at 68:18–69:6.
11 Dkt. 90-1, Ex. L, Toon 2d Decl. ¶¶ 2–8; see also Final Hearing Tr. (July 30, 2024) at 50:25–51:8; ECF 50-

8, Ex. H, Toon Decl. ¶¶ 4–7;
12 Final Hearing Tr. (July 30, 2024) at 52:21–23.
13 Final Hearing Tr. (July 30, 2024) at 51:9–11, 54:7–9; Dkt. 90-1, Ex. L, Toon 2d Decl. ¶¶ 2–8; Pls.’

Hearing Ex. 62 (list of Lioness members currently incarcerated in TDCJ facilities).
14 Dkt. 90-1, Ex. L, Toon 2d Decl. ¶¶ 7, 9, 16–23.
15 Final Hearing Tr. (July 30, 2024) at 53:19–22.
16 Final Hearing Tr. (July 30, 2024) at 53:23–54:6.
17 Id.
18 Id. at 56:18–22.


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2022.19 Lioness has also identified specific members housed in unair-conditioned TDCJ units

who “have been harmed or are at risk of harm from the extreme heat in TDCJ facilities.”20

Lioness decided to join this lawsuit because it is “concerned about incarcerated Texans’ health

and . . . their life,” because “the majority of [Lioness’s] membership is under the direct authority of

[TDCJ].”21 Lioness’s decision to join the lawsuit was “not only a response to the complaints”

Lioness received from its members about the extreme heat, but also a result of its formerly

incarcerated board members’ “lived experience” in the TDCJ system.22

               2. Texas Citizens United for Rehabilitation of Errants (“TX C.U.R.E.”)

         TX C.U.R.E. is an Austin-based criminal justice advocacy nonprofit.23 It was “created to

fight systemic and systematic mistreatment of people incarcerated in TDCJ’s custody, and to

provide those who are incarcerated with resources they need in and out of prison.”24 TX C.U.R.E.’s

constituents include all of the approximately 132,600 individuals incarcerated in the TDCJ

system—including approximately 89,000 individuals who are currently housed in unair-

conditioned living areas.25 TX C.U.R.E. has constituents in every unit in TDCJ.26 TX

C.U.R.E. advocates for its incarcerated constituents by communicating with them to try to address

specific issues, and by testifying in front of the Texas Legislature on heat-related issues.27 TX

C.U.R.E.’s Board of Directors includes individuals formerly incarcerated in the TDCJ system and


19 Id. at 56:14–57:5.
20 Dkt. 90-1, Ex. L, Toon 2d Decl. ¶¶ 5, 13–23 (identifying members by their initials “because many of our

members fear retaliation by TDCJ for providing testimony or participating in a lawsuit against it”).
21 Final Hearing Tr. (July 30, 2024) at 57:6–12.
22 Id. at 57:13–16.
23 Dkt. 90-1, Ex. M, C. Malouff Decl. (June 4, 2024) ¶ 3.
24 Dkt. 90-1, Ex. M, C. Malouff Decl. ¶ 3.
25 Final Hearing Tr. (July 30, 2024) at 188:10–23; Pls.’ Hearing Ex. 128; Dkt. 90-1, Ex. M, C. Malouff Decl. ¶

4.
26 Final Hearing Tr. (July 30, 2024) at 189:4–6.
27 Id. at 190:3–9.


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relatives of those who are currently incarcerated.28

           TX C.U.R.E.’s staff frequently communicates with its incarcerated constituents and their

family members, who seek help with addressing poor conditions in TDCJ’s prisons.29 These

incarcerated constituents’ needs drive the policy goals of the organization, which include seeking

relief from the extreme heat in TDCJ’s unair-conditioned units.30 TX C.U.R.E. identified 19

constituents who have written and requested help with excessive heat, a lack of air-conditioned

housing, and other related issues.31 All of these constituents are alleged to have “suffered from

exposure to excessive heat” and “are directly affected by TDCJ’s lack of temperature control

throughout its prisons.”32 TX C.U.R.E. decided to join this lawsuit to serve its constituents by

helping address their continued suffering from the extreme heat in unair-conditioned TDCJ

facilities.33

                           3. Texas Prisons Community Advocates (“TPCA”)

           TPCA’s mission is to serve incarcerated individuals and their families. TPCA has focused

on issues of extreme heat and a lack of air conditioning in TDCJ prisons from its inception.34

TPCA’s constituents include prisoners in the TDCJ population.35 TPCA advocates for its

incarcerated constituents in numerous ways—including by working on bills seeking to require

humane temperatures in TDCJ prisons, providing expert testimony about the conditions in

TDCJ units before the Texas Legislature, co-authoring research reports about those conditions,



28 Dkt. 90-1, Ex. M, C. Malouff Decl. ¶ 5.
29 Id. ¶ 6.
30 Id. ¶ 9.
31 Id.;   see also id. (attachment to C. Malouff Decl. listing 19 examples of TX C.U.R.E. constituents).
32 Dkt. 90-1, Ex. M, C. Malouff Decl. ¶ 10.
33 Final Hearing Tr. (July 30, 2024) at 192:11–193:1, 194:17–23.
34 Final Hearing Tr. (July 31, 2024) at 341:18–342:2; Dkt. 90-1, Ex. N, A. Dominick Decl. (June 6, 2024) ¶ 5.
35 Final Hearing Tr. (July 31, 2024) at 346:6–12.


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conducting advocacy training for criminal justice system-impacted family members, and

organizing community events to raise awareness about the conditions within TDCJ units.36 Most

of TPCA’s advocacy work focuses on the effects of extreme heat, lack of air conditioning, and

inadequate heat mitigation measures in Texas prisons.37 TPCA’s founder and president, Dr.

Amite Dominick (“Dr. Dominick”), has also communicated directly with Defendant Collier on

behalf of TPCA about extreme heat and the lack of air conditioning in Texas prisons.38

         TPCA’s staff frequently communicates with its incarcerated constituents, and it has

approximately 50 volunteer “team members” incarcerated in the TDCJ system whose needs and

concerns drive the policy goals of the organization.39 TPCA communicates with its incarcerated

constituents through various means, including by phone, mail, and email.40 TPCA’s Director of

Incarcerated Individuals, Brittany Robertson, communicates daily with individuals incarcerated in

TDCJ facilities and receives complaints from them about heat in Texas prisons every day.41

TPCA joined this lawsuit because of the complaints TPCA received from incarcerated volunteers

and constituents; and was further driven by the experience of Dr. Dominick’s own ex-husband,

who has been incarcerated in the TDCJ system since 2015.42

                           4. Coalition of Texans with Disabilities (“CTD”)

         CTD is a nonprofit corporation whose mission is to ensure that persons with disabilities

can work, live, learn, play, and participate fully in the community of their choice.43 CTD’s


                                             –347:21; Dkt. 90-1, Ex. N, A. Dominick Decl. ¶ 6.
36 Final Hearing Tr. (July 31, 2024) at 346:22

                                             –21.
37 Final Hearing Tr. (July 31, 2024) at 347:18

              –8.
38 Id. at 341:6
39 Final Hearing Tr. (July 31, 2024) at 347:22  –348:16 (Dr. Dominick); id. at 363:12–21 (Robertson); Dkt.
90-1, Ex. N, A. Dominick Decl. ¶ 8; Pls.’ Hearing Ex. 147.
40 Final Hearing Tr. (July 31, 2024) at 347:22–348:1; Pls.’ Hearing Ex. 146.
41 Final Hearing Tr. (July 31, 2024) at 363:1–364:7.
42 Id. at 350:6–17.
43 Dkt. 50-7, Ex. G, C. Bearden Decl. (Apr. 17, 2024) ¶ 3.


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constituency includes of all persons with a disability in Texas, including those incarcerated in

Texas prisons.44 Since an estimated 40% of TDCJ inmates have a disability, roughly 52,000 of the

130,000 people incarcerated in Texas prisons are CTD constituents, including every person with a

disability incarcerated in every TDCJ facility that lacks air conditioning.45 CTD joined this lawsuit

in its representative capacity on behalf of and to vindicate the rights of TDCJ inmates with

disabilities who are being housed in poor conditions and directly harmed by extreme heat.46

Several courts have held that CTD has associational standing to represent Texans with

disabilities.47

 B. Plaintiff Bernhard Tiede, II Faces a Substantial Risk of Serious Harm if He is Moved to
                                  an Unair-conditioned Cell.

          Tiede is a TDCJ inmate who has been directly affected by Collier’s failure to protect inmates

from extreme heat. He is 65 years old and has multiple medical conditions that make him especially

vulnerable to heat-related illness and death—including diabetes, hypertension, cardiovascular

disease, and chronic obstructive pulmonary disease.48 Despite his age and multiple medical

conditions that make him particularly vulnerable to heat, TDCJ housed Tiede in an unair-

conditioned cell that regularly reached temperatures above 100o during the summer of 2023.49 In

June 2023, Tiede had a “transient ischemic attack”—a small stroke—from heat exposure that


44 Id. ¶ 5.
45 Id.
46 Id. ¶ 7.
47 See, e.g., Steward v. Abbott, 189 F. Supp. 3d 620, 631-32 (W.D. Tex. 2016) (Garcia, J.) (CTD had

associational standing to bring suit against State of Texas on behalf of Medicaid beneficiaries with
intellectual disabilities); Richardson v. Tex. Sec’y of State, No. SA-19-cv-000963-OLG, 2019 WL 10945422, *6
(W.D. Tex. Dec. 23, 2019) (Garcia, J.) (CTD had associational standing to bring claim on behalf of disabled
Texas voters); see also Coalition of Texans with Disabilities v. Smith, No. 03-99-00064-CV, 1999 WL 816734
(Tex. App.—Austin Oct. 14, 1999) (CTD had associational standing to assert claim on behalf of
Texans with mobility impairments prevented from accessing religious buildings).
48 Dkt. 50-4, Ex. D, Cross 3d Decl. ¶ 7; Final Hearing Tr. (July 30, 2024) at 120:14–121:13; Pls.’

Exs. 210, 239.
49 Dkt. 30-24, Tiede Decl. ¶¶ 3–6; Dkt. 50-4, Ex. D, Cross 3d Decl. ¶¶ 5–7, 18.


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resulted in permanent injuries.50 At the time, he was living in unair-conditioned housing, and (as he

testified) it was “really, really hot outside.”51 Yet, after Tiede returned from receiving treatment in

the hospital for the transient ischemic attack, TDCJ placed him back in the same unair-conditioned

cell, presenting “a severe risk to his life and well-being.”52 Confronted with that risk, Tiede filed suit

against TDCJ; TDCJ moved Tiede to an air-conditioned cell after this Court entered a temporary

restraining order compelling TDCJ to do so.53 In April 2024, Tiede was diagnosed with an “[a]cute

or subacute infarct of the left thalamus”—i.e., a stroke.54

        Plaintiffs’ medical expert in toxicology, emergency room medicine, and heat medicine, Dr.

Susi Vassallo (“Dr. Vassallo”) testified, based on credible, published medical studies, that individuals

who are 65 and older, and those with diabetes, pulmonary disease, or cardiovascular disease, are

especially vulnerable to heat.55 Dr. Vassallo opined that Tiede is thus particularly vulnerable to heat.56

In her opinion, placing Tiede in unair-conditioned housing would put him at substantial risk of

death or serious harm.57 Tiede, likewise, testified that his health improves when he is in air

conditioning, and that his health declines when he is in extreme heat.58

        TDCJ and its officials testified that Tiede has been appropriately housed at all times during

his custody under TDCJ policy.59 Despite his various heat-sensitive co-morbidities, TDCJ’s “heath


50 Dkt. 30-24, Tiede Decl. ¶ 9; Dkt. 50-4, Ex. D, Cross 3d Decl. ¶¶ 7, 12–15; Final Hearing Tr. (July 30,

2024) at 95:22–96:11, 121:20–22.
51 Final Hearing Tr. (July 30, 2024) at 103:18–25.
52 Dkt. 30-24, Tiede Decl. ¶¶ 11–16; Dkt. 50-4, Ex. D, Cross 3d Decl. ¶¶ 7, 12–15.
53 Order, Dkt. 17; Dkt. 30-24, Tiede Decl. ¶ 17.
54 Pls.’ Hearing Ex. 210 at 1832.
55 Final Hearing Tr. (July 31, 2024) at 17:25–20:21, 28:5–31:13, 34:7–17; Pls.’ Hearing Exs. 6, 13,

15.
56 Final Hearing Tr. (July 31, 2024) at 47:16–49:10; Pls.’ Hearing Ex. 13; Pls.’ Hearing Ex. 6.
57 Final Hearing Tr. (July 31, 2024) at 49:19–24.
58 Final Hearing Tr. (July 30, 2024) at 128:21–129:1.
59 Final Hearing Tr. (Aug. 1, 2024) at 200:25–201:14; Dkt. 155, TDCJ 30(b)(6) Dep. at 195:20–

196:2; 201:5–19.

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score algorithm” did not assign Tiede a heat score qualifying him for air-conditioned housing. Thus,

under TDCJ’s current policy, Tiede’s medical conditions did not and still do not require that he be

placed in an air-conditioned cell.60 TDCJ agrees that Tiede may be moved into unair-conditioned

housing because he does not have a heat score.61 On the last day of the preliminary injunction

hearing, Collier could not commit to keeping Tiede in an air-conditioned cell for the duration of his

sentence.62 Thus, without a court order, Tiede is at risk of being moved to an unair-conditioned cell

at any time.63

        C. Temperatures Inside TDCJ’s Prisons are Dangerously High Each Summer.

        At the outset, the Court notes that the definition of “summer” is more expansive in Texas

and other southern states than it is in more temperate parts of the nation. The Court agrees with

TDCJ’s definition of summer as running from April 15 through the end of October for purposes of

this analysis.64 Accordingly, the Court refers to these months when it refers to “summer.”

                       1. The health risks of extreme heat are well-established.

        According to the National Weather Service (“NWS”), heat “is one of the leading weather-

related killers in the United States, resulting in hundreds of fatalities each year.”65 The NWS has




60 Final Hearing Tr. (Aug. 1, 2024) at 200:25    –201:14; Dkt. 155, TDCJ 30(b)(6) Dep. at 198:16–
24.
61 Dkt. 155, TDCJ 30(b)(6) Dep. at 205:7–206:7.
62 Final Hearing Tr. (Aug. 2, 2024) at 252:24–254:9.
63 Tiede also confirmed that he filed grievances on October 10, 2023, October 22 or 23, 2023,

October 31, 2023, and November 15, 2023. (See Final Hearing Tr. (July 30, 2024) at 142:1–13.)
64 Final Hearing Tr. (Aug. 1, 2024) at 14:12–18; id. at 16:14–16; id. at 26:6–11.
65 “Heat Safety Tips and Resources,” National Weather Service, available at

https://www.weather.gov/safety/heat. Under Rule 201 of the Federal Rules of Evidence, that Court may take
judicial notice of a fact that is not subject to reasonable dispute because it can be accurately and readily
determined from sources whose accuracy cannot reasonably be questioned. Fed. R. Evid. 201. The Court finds
that extreme heat’s status as one of the leading weather-related killers in the United States is such a fact, and
that the NWS is a source whose accuracy cannot reasonably be questioned.

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published a chart that illustrates how exposure to high heat indexes—a function of temperature and

humidity—increases the risk of heat-related illnesses66:




TDCJ’s heat policy references and relies on the heat index.67 The NWS correlates heat index ranges

to risk levels for the general population:

    •   Caution (light yellow; heat index 80–90o): “Fatigue possible with prolonged exposure and/or
        physical activity.”
    •   Extreme Caution (mustard yellow; heat index 91–104o): “Sunstroke, muscle cramps, and/or
        heat exhaustion possible with prolonged exposure and/or physical activity.”
    •   Danger (orange; heat index 105–125o): “Sunstroke, muscle cramps, and/or heat exhaustion
        likely. Heatstroke possible with prolonged exposure and/or physical activity.”
    •   Extreme Danger (red; heat index >126o): “Heat stroke likely.”

Expert testimony and scientific studies presented at the hearing confirm that high temperatures pose

a substantial risk of serious harm to anyone, even young, healthy individuals. Dr. Vassallo credibly

testified that a heat index of 88o or higher poses a substantial risk of adverse health outcomes in all

inmates—even those who are young and healthy.68 Those risks include heat exhaustion, heat rash,


66 Final Hearing Tr. (July 31, 2024) at 21:6–23:17; Pls.’ Hearing Ex. 24.
67 Final Hearing Tr. (Aug. 1, 2024) at 262:1 –14; Final Hearing Tr. (Aug. 2, 2024) at 172:7–14.
68 Final Hearing Tr. (July 31, 2024) at 23:2–38:23; Pls.’ Hearing Exs. 10, 15, 23, 42, 54, 70.


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dehydration, heat cramps, heat syncope, and heat stroke—the last of which carries a “high mortality

rate” and can have lasting negative health consequences.69 Plaintiffs’ epidemiology expert, Dr. Julie

Skarha (“Dr. Skarha”), confirmed that heat can cause a number of negative health outcomes beyond

heat stroke and heat exhaustion, including heart attacks, asthma attacks, kidney failure, and an

increase in risk of suicide.70 Dr. Antonella Zanobetti (“Dr. Zanobetti”), Plaintiffs’ environmental

epidemiology expert, likewise opined that higher temperatures increase the risks of hospitalization,

illness, and mortality.71 And Collier’s own expert in internal medicine, Dr. Jane Leonardson (“Dr.

Leonardson”), agreed that people who are exposed to severe environmental heat in the range of 90–

105o are at serious risk of illness and death.72

         Plaintiffs’ expert in forensic psychiatry, Dr. Jhilam Biswas (“Dr. Biswas”), testified that

high heat exacerbates mental illness; when exposed to high heat, people with mental health

disorders exhibit higher rates of suicidality, agitation, and impulsivity, and a slowing of cognitive

processing.73 Heat affects sleep, and people with mental illness have more trouble controlling

their conditions if they cannot sleep.74 Extreme heat can exacerbate mental health episodes

requiring hospitalization.75 And in high heat, suicidality increases “by a significant amount”

among inmates.76

         Further, people with mental illnesses are particularly vulnerable to high heat.

Conservative estimates from the federal Substance Abuse and Mental Health Services


                                            –17:20, 32:20–37:23; Pls.’ Hearing Exs. 15, 275.
69 Final Hearing Tr. (July 31, 2024) at 15:15

                                             –151:8.
70 Final Hearing Tr. (July 30, 2024) at 150:23

             –23, 79:1–9; Pls.’ Hearing Exs. 46, 73, 75.
71 Id. at 75:13
72 Final Hearing Tr. (Aug. 1, 2024) at 143:12–16.
73 Final Hearing Tr. (July 31, 2024) at 167:24–170:20, 177:17–179:9; Pls.’ Hearing Exs. 11, 35,

76, 103.
74 Final Hearing Tr. (July 31, 2024) at 177:11–178:7.
75 Final Hearing Tr. (July 31, 2024) at 180:15–181:15; Pls.’ Hearing Ex. 33.
76 Final Hearing Tr. (July 31, 2024) at 178:8–14, 182:6–183:19; Pls.’ Hearing Ex. 91.


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Administration indicate that 37%—i.e., more than one in three—inmates have a diagnosable

mental illness at any given time.77 When housed in extreme heat, inmates with mental illness are

“more likely to die or experience worse morbidity than individuals without mental illness.”78 For

example, Dr. Biswas explained that one study showed that people with schizophrenia had a 200%

higher risk of death when exposed to extreme heat.79 People with substance abuse disorders and

individuals taking psychotropic medications are also particularly vulnerable to health risks from

high heat.80 Dr. Biswas thus credibly concluded that “exposure to periods of extreme heat cause[s]

a substantial risk of serious harm” to TDCJ inmates by increasing the incidence of and exacerbating

existing mental health conditions.81

                               2. Texas prisons are hot and getting hotter.

          Dr. Linda Mearns (“Dr. Mearns”), a climatologist and researcher at the National Center

for Atmospheric Research, has opined via declaration that “increasing temperatures, increasing

extreme temperatures, and more frequent heat waves” are among the most certain predictions for

future climate trends, including those in Texas.82 “This most likely will result in an increasing heat

index, and [an increased] number of hours per day with extreme heat index values.”83 In other

words, “[t]he trend of summer temperatures throughout Texas is certainly towards warmer

temperatures [and] increasing heat index.”84 In particular, Texas “is expected to increase in mean

annual temperature between 4.5o and 8.5o by the end of the 21st century.”85


77 Final Hearing Tr. (July 31, 2024) at 168:10 –23.
78 Id. at 177:1–16; Pls.’ Hearing Ex. 103 at 13.
79 Final Hearing Tr. (July 31, 2024) at 170:15–20.
80 Id. at 181:2–15, 187:9–191:18; Pls.’ Hearing Exs 43, 44, 50.
81 Final Hearing Tr. (July 31, 2024) at 185:13–20.
82 Dkt. 50-5, Ex. E, L. Mearns Decl. ¶ 23.
83 Id. ¶¶ 12   –14, 23.
84 Id. ¶ 18.
85 Id. ¶ 19.


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         TDCJ did not provide testimony at the hearing to dispute Dr. Mearns’s declaration, and

the Court finds Dr. Mearns’s opinions to be credible. In addition, TDCJ itself recognizes that its

prisons are hot in the summers. TDCJ’s Rule 30(b)(6) deponent, David Sweetin (“Sweetin”),

agrees that temperatures in every prison in Texas are likely to exceed 85o each summer.86 Collier

also believes that summers are hot in Texas, they have been hot for years, they are likely to

continue to be hot, and that it is hot inside Texas prisons without air conditioning.87 Collier

agrees that it “certainly” makes sense to him that the heat index could reach 113o in Texas in

August.88 And, in fact, TDCJ itself reported to the Texas Legislature that the temperatures inside

its prisons exceeded 85o on the overwhelming majority of days from May 1, 2023 to September

30, 2023.89 This testimony is also consistent with TDCJ’s own prison temperature logs, which

have documented heat indexes outside of its prisons as high as 134o:90




86 Dkt. 155, TDCJ 30(b)(6) Dep. at 214:1 –4; 222:17–21.
                                            –205:18.
87 Final Hearing Tr. (Aug. 2, 2024) at 204:24

               –14.
88 Id. at 217:12

                             –20.
89 Pls.’ Hearing Ex. 102 at 11
90 Def.’s Hearing Ex. 76 (highlight added).


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         Testimony from current TDCJ inmate Tiede and former TDCJ inmates at the hearing

further confirmed the existence of these high temperatures. For example, former TDCJ inmate

Marci Marie Simmons (“Simmons”) testified that, in the summer of 2022, she observed a

thermometer in the Dr. Lane Murray Unit, a TDCJ unit for women in Gatesville, that read 136o.91

Her unit was so hot one day that she and a group of other inmates were able to cook a raw egg

on the concrete floor.92 During his incarceration in the Byrd Unit, a unit for men in Huntsville,

former TDCJ inmate Charlie Malouff (“Malouff”) observed a digital temperature monitor reading

129o one day, 118o on another, and 114o on another.93 And scores of TDCJ inmates continue to file


                                           –20.
91 Final Hearing Tr. (July 30, 2024) at 30:2

              –24.
92 Id. at 28:19

               –23.
93 Id. at 179:15


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grievances about the extreme heat in their unair-conditioned units—last summer alone, inmates

filed 450 formal, Step One grievances about heat and heat-related issues.94 Based on the

foregoing, the Court finds that the inmate housing areas in Texas’s unair-conditioned prisons are

unreasonably dangerous due to the extreme heat during the summer months.

         D. Extreme Heat Poses a Substantial Risk of Serious Harm to TDCJ Inmates.

    1. TDCJ has repeatedly acknowledged the risk that extreme heat poses to TDCJ inmates.

        TDCJ has admitted that at least 23 individuals died in TDCJ facilities from heat-related

causes between 1998 and 2012, and credible evidence presented at the hearing shows that TDCJ

has underestimated this number.95 Collier admitted he was aware of ten deaths from heat stroke in

the summer of 2011 alone.96 And TDCJ has identified hundreds of other inmates diagnosed with

heat-related illnesses since 2011.97 Collier agrees that heat has caused deaths or contributed to the

deaths of TDCJ inmates in the past.98 Five years ago, Collier testified in Texas federal court that

inmates confined in temperatures at or above 95o face a serious health risk.99

        TDCJ’s Rule 30(b)(6) deponent, Sweetin, also testified in his July 2024 deposition that the

high temperatures in TDCJ facilities during the summer months place inmates a very real risk of

harm and serious injury unless adequate measures are taken to protect them from the excessive

heat.100 He acknowledged that extreme heat poses danger, “has killed inmates, and [has] caused

numerous inmates and officers to suffer heat-related illnesses.”101 TDCJ Facilities Director Ron



94 Pls.’ Hearing Ex. 102 at 4 (reflecting temperature related grievances from May through August).
95 Cole v. Collier, No. 4:14-CV-1698, 2017 WL 3049540, at *1, *20 (S.D. Tex. July 19, 2017).
96 Final Hearing Tr. (Aug. 2, 2024) at 207:22   –208:2.
97 Cole, 2017 WL 3049540, at *20.
98 Final Hearing Tr. (Aug. 2, 2024) at 207:9 –208:2.
99 Dkt. 50-11, Ex. K-4, Cole v. Collier, Sept. 10, 2019 Hearing Tr. at 49:22–25.
100 Dkt. 155, TDCJ 30(b)(6) Dep. at 229:22     –230:4; see also Final Hearing Tr. (July 31, 2024) at 211:12.
101 Dkt. 155, TDCJ 30(b)(6) Dep. at 131:12     –132:8, 161:22–162:5.

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Hudson (“Hudson”) also agrees that elevated indoor temperatures impact inmates and

correctional staff at unair-conditioned facilities.102

          According to TDCJ’s Fiscal Year 2023 report to the Texas Legislature, TDCJ inmates filed

5,202 Step One grievances and 609 Step Two grievances related to the heat in the summer of

2023.103 TDCJ’s Administrative Review and Risk Management Division provides Collier’s office a

monthly report regarding heat-related grievances filed by TDCJ inmates, and Collier is aware of

them.104 According to Plaintiffs’ corrections expert Dean Williams (“Williams”), that volume of

grievances further shows extreme heat is a problem that needs to be addressed.105

    2. Publicly available, peer-reviewed research studies have warned Collier that TDCJ inmates
                                  continue to die from extreme heat.

          In 2022, Plaintiffs’ experts Dr. Zanobetti and Dr. Skarha published an epidemiological

study on the association between extreme heat and mortality among inmates in Texas prisons with

and without air conditioning.106 They found an increased risk of mortality in Texas prisons without

air conditioning during times of high heat, whereas there was no increase in risk of mortality in

Texas prisons with air conditioning during that same period.107 As compared to days when the heat

index is 85o, the risk of dying in a Texas prison without air conditioning increased by 5% when

the heat index is 95o, 10% when the heat index is 100o, and 15% when the heat index is 105o.108 In

other words, a one-degree increase above 85o corresponds to a 0.7% increase in the risk of




102 Final Hearing Tr. (Aug. 2, 2024) at 133:18 –23; Def.’s Ex. 21.
103 Final Hearing Tr. (Aug. 1, 2024) at 270:14 –272:25; Pls.’ Hearing Ex. 102 at 4.
104 Final Hearing Tr. (Aug. 1, 2024) at 269:10–270:13.
105 Final Hearing Tr. (July 31, 2024) at 235:17–236:11.
106 Pls.’ Hearing Exs. 70 and 75.
107 Id.
108 Final Hearing Tr. (July 30, 2024) at 158:18  –160:6; Pls.’ Hearing Ex. 70 at 5.

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mortality.109




        Dr. Zanobetti and Dr. Skarha concluded there were 271 deaths attributable to extreme

heat in Texas prisons without air conditioning from 2001 to 2019—an average of 14 deaths per

year.110 According to Dr. Vassallo, however, this is likely an underestimate, as it does not account

for heat’s exacerbation of underlying illnesses.111 The same study concluded that not a single heat-

related death occurred in TDCJ’s climate-controlled prisons during this period.112 Based on their

research, Dr. Zanobetti and Dr. Skarha expect more TDCJ inmates to die from extreme heat in

unair-conditioned cells each summer.113




109 Pls.’ Hearing Ex. 70 at 5 (explaining that the figure “shows the association between same-day daily

maximum heat index above 85 °F and the percentage change in the risk of daily all-cause mortality by AC
status”).
110 Final Hearing Tr. (July 30, 2024) at 90:22–91:4 (Dr. Zanobetti); id. at 160:7–15 (Dr. Skarha); Pls.’ Hearing

Ex. 70.
111 Final Hearing Tr. (July 31, 2024) at 38:3–24.
112 Pls.’ Hearing Ex. 70.
113 Final Hearing Tr. (July 30, 2024) at 84:21–85:2 (Dr. Zanobetti); id. at 163:3–7 (Dr. Skarha).


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          3. TDCJ admits that multiple TDCJ inmates died from extreme heat in Summer 2023.

           After publicly denying that any inmate had died from the extreme heat in Texas prisons

since 2011, TDCJ now concedes that there were at least three heat-related custodial deaths in the

summer of 2023.114 Collier admitted “there were three inmate deaths where elevated temperatures

were cited in the final autopsies as a possible contributing factor”115 and reported the following

three deaths to the Texas Legislature.116 Collier also acknowledged that he is briefed on any autopsy

that identifies heat as a contributing factor, and that he would “probably” read the autopsy

report, as well.117 The Court briefly recounts the known deaths due to heat during that time

period.

                              a. Elizabeth Hagerty – Died on June 28, 2023

           Elizabeth Hagerty was a 37-year-old woman housed in an unair-conditioned cell in the

Dr. Lane Murray Unit, a TDCJ unit for women in Gatesville.118 At 12:10 a.m. on June 30, 2023,

after Hagerty failed to respond to an officer conducting the unit count,119 the officer found

Hagerty unresponsive in her cell.120 Less than forty minutes later, she was pronounced dead.121 At

the time she died, the temperature in her cell was 95.7o.122 No core body temperature was

documented.

           Hagerty had a medical history of obesity, hypercholesterolemia, diabetes, asthma,

substance abuse, and an unspecified mood disorder.123 At the time of her death, Hagerty’s

114 Pls.’ Hearing Ex. 102 at 5.
115 Pls.’ Hearing Ex. 254, Collier’s Resp. to Interr. No. 1.
116 Pls.’ Hearing Ex. 102 at 5.
117 Final Hearing Tr. (Aug. 2, 2024) at 211:17 –212:2.
118 Pls.’ Hearing Ex. 169-A at 2.
119 Id.
120 Id.
121 Id. at 6.
122 Id. at 11.
123 Pls.’ Hearing Ex. 169-A at 29.


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medications included (1) albuterol (a bronchodilator for asthma), (2) atorvastatin (used to treat

elevated cholesterol), (3) citalopram (a selective serotonin reuptake inhibitor to treat anxiety and

depression), and (4) carbamazepine (used to treat bipolar disorder).124 A week before she died,

Hagerty submitted a sick call complaining about the heat and a heat rash on her entire body.125

Four days later, she was seen again by medical staff and complained of having abdominal cramps

for two days and more than 20 episodes of vomiting.126 Medical staff advised Hagerty to drink

water.127

          A University of Texas Medical Branch (“UTMB”) pathologist performed an autopsy on

Hagerty’s body five days after her death.128 Other than a heat rash, the autopsy revealed no

significant anatomical findings but found she had hyponatremia (low sodium).129 The pathologist

determined that this was the result of dehydration from her recent gastrointestinal illness, which

was likely caused by COVID-19.130 According to the autopsy report, hyponatremia caused

Hagerty’s death, although elevated environmental temperatures were noted as a potential

contributory factor.131 At the hearing, Collier admitted that he knew in 2023 that Hagerty died

after complaining of heat rash, and that UTMB doctors had concluded that heat may have been a

contributing factor in her death.132

          Plaintiffs’ experts Dr. Vassallo and Dr. Uribe gave unrebutted testimony that Hagerty’s




124 Id. at 27.
125 Pls.’ Hearing Ex. 169 at 6.
126 Id.
127 Pls.’ Hearing Ex. 169 at 6; Pls.’ Hearing Ex. 169-A at 24.
128 Pls.’ Hearing Ex. 169 at 4.
129 Id. at 11.
130 Id.
131 Id. at 12.
132 Final Hearing Tr. (Aug. 2, 2024) at 216:5–9.

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death was heat-related.133 Specifically, Dr. Vassallo opined that the heat exacerbated Hagerty’s

obesity, diabetes, asthma, and COVID-19 symptoms.134 Dr. Vassallo and Dr. Uribe credibly

testified that Hagerty would not have died if she had been housed in an air-conditioned cell.135

                                   b. John Castillo – Died on August 6, 2023

          John Castillo was a 33-year-old man housed in an unair-conditioned cell in the Alfred D.

Hughes Unit, a TDCJ prison for men in Gatesville.136 At 10:42 p.m. on August 6, 2023, Castillo’s

roommate notified a corrections officer that Castillo was sitting on the floor leaning against the

bottom bunk with his head tilted backward.137 He was unresponsive but still breathing.138 The officer

entered the cell and attempted to communicate with Castillo, but he remained unresponsive.139 The

officer noted that Castillo’s breathing was shallow, and that his body temperature appeared

elevated.140 Castillo was taken to the medical unit, where a nurse reported he was “hot to the

touch.”141 His core body temperature was 107.5o.142 He was pronounced dead at 11:33 p.m.143

          The ambient temperature inside the Hughes Unit was 94.4o on the day Castillo died.144 Fans

were on in his unit, and he had access to water.145 In fact, he was seen on TDCJ surveillance footage

going to the water cooler 23 times in the 24 hours before his death.146 He had a medical history of




                                                                            –13, 303:1–13 (Dr. Uribe).
133 Final Hearing Tr. (July 31, 2024) at 61:3-5 (Dr. Vassallo); id. at 302:11
134 Id. at 61:6–8.
135 Id. at 61:9–12 (Dr. Vassallo); id. at 303:6–9, 309:7–12 (Dr. Uribe).
136 Pls.’ Hearing Ex. 161-B at 2.
137 Id. at 2–3.
138 Id.
139 Id. at 2.
140 Id. at 2   –3.
141 Pls.’ Hearing Ex. 161-B at 27.
142 Id. at 64; Pls.’ Hearing Ex. 161 at 12.
143 Pls.’ Hearing Ex. 161-B at 3.
144 Pls.’ Hearing Ex. 102 at 17.
145 Pls.’ Hearing Ex. 161 at 12.
146 Id.


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epilepsy and depression.147 At the time of his death, his medications included (1) oxybutynin (used to

treat bladder control disorders), (2) phenytoin (an antiseizure medication), and (3) sertraline (a

selective serotonin reuptake inhibitor (an “SSRI”)).148 According to TDCJ’s Administrative Incident

Review, Castillo was last seen by medical staff a little over a month before he died, on June 23, 2023,

for treatment of depression.149 The provider did not document any recent seizure activity or

complaints of seizures.150

          A UTMB pathologist performed an autopsy on Castillo’s body six days after his death.151

She could not identify an anatomic cause of death.152 Bleeding in his tongue, aspiration

pneumonitis, and the absence of antiseizure medications in post-mortem toxicology tests suggested

that Castillo had a seizure around the time of his death.153 Based on these findings, the

pathologist opined that Castillo’s cause of death was seizure disorder, “with high

environmental temperature as an important contributory factor.”154 The pathologist’s report also

stated that, while seizures can result in hyperthermia, “it is well-established that hyperthermia can

also induce seizures in susceptible individuals.”155 And she concluded that “[t]he degree of

hyperthermia seen in this patient is much greater than would be expected in the setting of seizures

alone.”156 At the hearing, Collier admitted to having read the report from the autopsy of Castillo,

and to knowing in 2023 that UTMB doctors had concluded that heat was an important




147 Id.
148 Id.
149 Pls.’ Hearing Ex. 161-B at 35.
150 Id.
151 Pls.’ Hearing Ex. 161 at 4.
152 Id. at 12.
153 Id.
154 Pls.’ Hearing Ex. 161 at 12.
155 Id.
156 Id.


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contributory factor in Castillo’s death.157

          Dr. Vassallo and Dr. Uribe agreed that Castillo’s death was heat-related.158 And they

credibly testified that Castillo would not have died if he had been in an air-conditioned cell.159

                              c. Patrick Womack – Died on August 21, 2023

          Patrick Womack was a 50-year-old man housed in restrictive housing in the unair-

conditioned H.H. Coffield Unit, a men’s prison in Anderson County.160 On the night of August

20, 2023, Womack asked a correctional officer for a cooldown shower, but the officer said there

were not enough staff and did not give him one.161 Video surveillance on August 21, 2023, shows

Womack passing water bottles under his cell door at 9:19 a.m., but he did not respond to a

correctional officer’s count at 10:07 a.m.162 At 11:34 a.m., the commissary manager tried to talk to

Womack, but he did not respond.163 The manager said that Womack appeared to be asleep on his

stomach.164 At 1:33 p.m., officers reported that Womack was face-down in his bunk and

unresponsive.165 At 1:44 p.m., officers noted that he remained unresponsive, and his core body

temperature was 106.9o.166 He was pronounced dead nine minutes later.167 When corrections

officers discovered Womack, the ambient outdoor temperature was 104o and the heat index was

113o.168 TDCJ reported to the Texas Legislature that the indoor temperature at the Coffield Unit


157 Final Hearing Tr. (Aug. 2, 2024) at 213:11 –23, 214:15–215:6.
158 Final Hearing Tr. (July 31, 2024) at 51:19–52:2 (Dr. Vassallo); id. at 316:18–21 (Dr. Uribe).
159 Id. at 56:12-15 (Dr. Vassallo); id. at 288:11-15, 309:7-12 (Dr. Uribe).
160 Pls.’ Hearing Ex. 200 at 6; Pls.’ Hearing Ex. 200-B at 1.
161 Pls.’ Hearing Ex. 200-B at 3, 8, 42.
162 Id. at 3.
163 Pls.’ Hearing Ex. 200-B at 3.
164
    Id.
165
    Id. at 2.
166 Pls.’ Hearing Ex. 200 at 6.
167
    Id.
168
    Id.

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was 99.1o at 3:00 p.m. on August 20 and 96.6o at 3:00 p.m. on August 21.169

         Womack had an extensive history of mental illness, including antisocial behavior, impulse

control disorder, and major depressive disorder with suicidal ideation.170 He had made numerous

prior suicide attempts, had had over 70 encounters with Crisis Management, and was on TDCJ’s

mental health caseload.171 Womack’s medications included (1) benztropine (an

anticholinergic); (2) haloperidol (an antipsychotic); and (3) sertraline (an SSRI).172

         A UTMB pathologist performed an autopsy on Womack’s body ten days after his

death.173 His body showed evidence of advanced decomposition.174 Post-mortem toxicology

showed that Womack had potentially toxic serum sertraline levels of 2500 ng/ml, which can

cause hyperthermia.175 The UTMB pathologist stated, “Classic heat stroke caused by elevated

environmental temperatures can also occur in combination with drug-induced hyperthermia.”176

She then opined that Womack’s cause of death was hyperthermia due to sertraline toxicity with

environmental heat as a contributory factor.177

         Dr. Vassallo and Dr. Uribe offered unrebutted testimony at the hearing that Mr.

Womack’s death was heat-related,178 and Dr. Vassallo credibly testified that Womack died of a

heat stroke.179 Dr. Vassallo and Dr. Uribe also opined that absent environmental heat stress,



169 Pls.’ Hearing Ex. 102 at 17.
170 Pls.’ Hearing Ex. 200 at 6.
171
    Id.
172
    Id.
173
    Id. at 4.
174
    Id. at 6.
175 Pls.’ Hearing Ex. 200 at 11.
176
    Id.
177
    Id.
178 Final Hearing Tr. (July 31, 2024) at 69: 16-25 (Dr. Vassallo); id. at 304:11–13, 305:18–21 (Dr. Uribe).
179 Id. at 69:16–25.


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sertraline toxicity would not have caused a core body temperature of 106.9o.180 Dr. Vassallo and

Dr. Uribe testified that Womack would not have died if he had been in an air-conditioned cell.181

               4. At least two more TDCJ inmates died from the heat in summer 2023.

          Dr. Vassallo and Dr. Uribe also credibly testified that at least two other TDCJ inmates died

from heat-related causes in Summer 2023:

                              a. John Southards – Died on June 28, 2023

          John Southards was a 36-year-old man housed in restrictive housing in an

unair-conditioned cell in the Estelle Unit in Huntsville.182 During security rounds on June 28, 2023, an

officer found him laying down in his cell and having trouble breathing.183 The officer called for

assistance at 11:06 p.m.184 Southards was moved to the infirmary, where resuscitation efforts

continued. At the time, staff described him as diaphoretic (sweating heavily) and hot to the touch.185

Southards was pronounced dead at 11:58 p.m.186 The UTMB pathologist who performed the

autopsy on Southards asked TDCJ for his core body temperature near the time of his death, but

none was recorded.187 The ambient temperature in his cell was 85.7o with a heat index of 96.2o at 3:00

a.m.188

          Southards had a significant psychiatric history, including depression, anxiety, psychosis,




180 Id. at 304:16 –305:14 (Dr. Uribe testifying that sertraline cannot increase the body temperature to 106.9
degrees); see id. at 67:8–69:15 (Dr. Vassallo explaining that a sertraline level of 2500 ng/ml would not
necessarily have caused death and not have caused core body temperature to increase to 106.9 degrees).
181 Id. at 70:4–7 (Dr. Vassallo); id. at 305:15–17, 309:7-12, 332:2–5 (Dr. Uribe).
182 Pls.’ Hearing Ex. 192-B at 2.
183 Pls.’ Hearing Ex. 192-B at 2.
184
    Id.
185 Pls.’ Hearing Ex. 192-A at 83.
186
    Id.
187 Id. at 19, 83, 88.
188 Id. at 88.


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and suicidal ideation with multiple suicide attempts.189 His medical history was only significant

for intermittent asthma and gastroesophageal reflux. His medications included

(1) haloperidol (an antipsychotic), (2) oxybutynin (used for bladder dysfunction), (3) venlafaxine

(an SSRI), and (4) Benadryl (an antihistamine and anticholinergic).190

            A UTMB pathologist performed an autopsy on Southards’s body six days after his

death.191 The findings included heat rash on his upper extremities.192 Although additional

anatomical findings were described, none were considered a contributing factor in Southards’s

death.193 The pathologist concluded that diphenhydramine (Benadryl) toxicity caused Southards’s

death but stated “there is insufficient evidence to support heat-related stress as a contributory

cause of death, given the lack of core body temperature data. However, the possibility cannot be

excluded.”194 She also noted that there was “no documented information to suggest suicidal

intent.”195 On December 8, 2023, TDCJ investigators determined that Southards had died by

suicide and closed their investigation.196

            Dr. Vassallo and Dr. Uribe opined that heat stroke caused Southards’s death.197 Both

medical experts testified that Southards could not have died from diphenhydramine toxicity (i.e.,

a Benadryl overdose), because he was sweating when he was found, and Benadryl inhibits

sweating.198 Dr. Vassallo and Dr. Uribe further concluded that the amount of Benadryl in


189
      Id.
190 Id. at 68, 83.
191 Id. at 81.
192 Id. at 88.
193
      Id.
194 Pls.’ Hearing Ex. 192-A at 88.
195
      Id.
196 Id. at 41.
197 Final Hearing Tr. (July 31, 2024) at 61:18 –64:22 (Dr. Vassallo); id. at 296:19–21 (Dr. Uribe).
                                               –13 (Dr. Uribe).
198 Id. at 63:15-22 (Dr. Vassallo); id. at 297:1


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Southards’s system was not lethal.199 Lastly, Dr. Vassallo and Dr. Uribe both credibly testified that

Southards would not have died if he had been in an air-conditioned cell.200

                               b. Armando Gonzales – Died on August 23, 2023

            Armando Gonzales was a 42-year-old transgender woman housed in the Alfred D.

Hughes Unit, a prison in Gatesville.201 At 10:00 p.m. on August 21, 2023, Gonzales was found

unresponsive but breathing in her cell. After the incident command system was activated, medical

staff found Gonzales lying on her left side in a pool of vomit.202 The autopsy noted that the “air

conditioning was out in the unit,” and that the ambient temperature in Gonzales’s cell at the time

she was found was between 97o and 100o.203 She was taken to the onsite emergency room, where

her rectal temperature was documented as 109.4o on repeated measurements.204 Despite multiple

attempts over a 48-hour period, medical providers could not resuscitate her, and she was

pronounced dead at 5:32 a.m. on August 23, 2023.205

            Gonzales had been diagnosed with Hepatitis C and manic depressive disorder with

psychosis; she also had a history of substance abuse.206 She had cirrhosis of the liver,207 and her

medications included: (1) aripiprazole (used to treat bipolar disorder); (2) citalopram (an

SSRI); (3) spironolactone (a diuretic to treat fluid retention); (4) estradiol (a hormone); and (5)

bupropion (used to treat depression).208



199 Id. at 64:3-19 (Dr. Vassallo); id. at 297:15   –17 (Dr. Uribe).
200 Id. at 64:23   –65:1 (Dr. Vassallo); id. at 297:23-298:2, 309:7–12 (Dr. Uribe).
201 Pls.’ Hearing Ex. 168-A at 2.
202 Id. at 8.
203 Pls.’ Hearing Ex. 168 at 6, 11.
204 Id. at 6.
205
      Id.
206 Id. at 5 –6.
207
      Id.
208 Id. at 6.


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            A UTMB pathologist performed an autopsy on Gonzales’s body 13 days after she died.209

The anatomic examination revealed a lung hemorrhage and pneumonia, reflecting Gonzales’s

clinical illness.210 Post-mortem toxicology was positive for midazolam, a sedative hypnotic drug;

and fentanyl, an opioid analgesic.211 The pathologist noted, however, that “the levels of drug may

be altered by the long post mortem interval and severe degree of autolysis of tissues seen in this

patient.”212 He nevertheless opined that Gonzales’s death was caused by multidrug toxicity with

opioid overdose and drug-related hyperthermia.213 Collier received this autopsy report as well.214

            Dr. Vassallo disagreed with the UTMB pathologist’s analysis.215 She explained that

multiple medications (including opioids) are used in the intensive care unit to sedate patients who

have suffered medical incidents like heat stroke, which could explain the postmortem toxicology

results.216 Most importantly, it is “unquestionable” that opioids like fentanyl do not cause

hyperthermia.217 Instead, they cause hypothermia—i.e., decreased body temperature.218 Thus, in

Dr. Vassallo’s credible expert opinion, fentanyl could not have caused Gonzales’s hyperthermia;

rather, severe environmental heat stroke caused her death.219 Dr. Uribe agreed that Gonzales’s

death was heat-related.220 Dr. Vassallo and Dr. Uribe both credibly testified that Gonzales would




209 Id. at 4.
210
      Id.
211 Pls.’ Hearing Ex. 168 at 11.
212
      Id.
213 Pls.’ Hearing Ex. 168 at 11.
214 Id. at 15.

                                             –56:5.
215 Final Hearing Tr. (July 31, 2024) at 54:15
216
      Id.
217 Id. at 54:22–55:13.
218 Id. at 54:22–55:3, 55:21–24.
219 Id. at 56:3–5.
220 Id. at 291:10–292:6.


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not have died if she had been in an air-conditioned cell.221

            Plaintiffs’ corrections expert Williams testified that core body temperatures of 106o or 107o

would be “cause for alarm across the [state government], . . . not just in the corrections

system.”222 If he saw even “one death where [he] knew the core body temperature was in the range

of 106 degrees, 107 degrees, . . . [he] would pull the fire alarm for [the] department.”223 As set

forth in more detail below, Collier did not do so upon receiving Gonzales’s autopsy report.

      5. Evidence of two other possibly heat-related inmate deaths was also presented during the
                                   preliminary injunction hearing.

            Two other inmate deaths were discussed during the hearing—both of which were possibly

heat-related.

                                   a. Corey Smith – Died on July 28, 2022

            Corey Smith was a 50-year-old transgender woman housed in cell 4-E-2 in the Alfred D.

Hughes Unit.224 During a count on July 28, 2022, at approximately 2:00 a.m., a correctional officer

found Smith prostrate on the floor of her cell and in acute medical distress.225 At that time, her

core body temperature was measured at 107.6o.226 Smith was pronounced dead less than an hour

later.227 Smith’s medical history included high cholesterol, asthma, substance abuse, and gender

dysphoria disorder.228 Her medications included (1) Benadryl; (2) estradiol (a hormone); and (3)

spironolactone (used to treat high blood pressure and heart failure).229



                                              –9, 309:7–12 (Dr. Uribe).
221 Id. at 56:6-11 (Dr. Vassallo); id. at 292:7
222 Id. at 234:1  –5.
223 Final Hearing Tr. (July 31, 2024) at 233:10   –18.
224 Pls.’ Hearing Ex. 277 at 2.
225
      Id.
226 Id. at 123.
227 Id.; Pls.’ Hearing Ex. 277 at 2.
228 Pls.’ Hearing Ex. 277-A at 123.
229 Id. at 24.


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          A UTMB pathologist performed an autopsy on Smith’s body eight days after her death.230

The autopsy report states that the cause of death was hyperthermia attributed to sertraline

toxicity and serotonin syndrome.231 Smith’s postmortem sertraline level was elevated at 1200

ng/ml.232 While elevated levels of sertraline can increase core body temperature, Dr. Vassallo

and Dr. Uribe both testified that a postmortem sertraline level of over twice Smith’s level would

not have caused someone’s core body temperature to rise to 106o.233 TDCJ’s Director of

Classification Timothy Fitzpatrick, testified that Hughes 4-E-2 is not air-conditioned.234 And,

according to the temperature logs that TDCJ provided to the Texas Legislature, the indoor

temperature at the Hughes unit was 93.6o on the day Smith died in her unair-conditioned cell.235

                                 b. Jason Wilson – Died on July 5, 2024

          In the weeks before his death, TDCJ inmate Jason Wilson sent TPCA Director Brittany

Robertson several emails indicating that there were not enough corrections staff to pass out water,

and that the temperatures in his unit were extremely high.236 Wilson had been a TPCA team

member for a year before he died.237 When Robertson called Wilson’s unit to check on him on

July 7, 2024, a TDCJ employee told Robertson that Wilson was doing okay, even though he had, in

fact, died two days earlier.238 During the hearing, Collier agreed that TDCJ handled Wilson’s


230 Id. at 126.

                       –34.
231 Id. at 123, 126, 133
232 Pls.’ Hearing Ex. 277-A at 133.

                                                         –16 (Dr. Uribe testifying that sertraline cannot
233 Final Hearing Tr. (July 31, 2024) at 304:16-305:14, 331:10
                                        o
increase the body temperature to 106.9 when he discussed Womack’s death); see id. at 67:1–69:15 (Dr.
Vassallo explaining that a sertraline level of 2500 ng/ml would not necessarily have caused death and would
not have caused a core body temperature to increase to 106.9o when she discussed Womack’s death).
234 Final Hearing Tr. (July 31, 2024) at 218:14–16.
235 Def.’s Hearing Ex. 70 at 2 (noting that the temperatures are taken indoors), 27 (noting the temperature).
236 Final Hearing Tr. (July 31, 2024) at 366:14–370:11, 374:3–375:1; Pls.’ Hearing Exs. 137, 264,

152.
237 Final Hearing Tr. (July 31, 2024) at 365:3–12.
238 Id. at 372:10–16, 374:3–5; Pls.’ Exs. 137, 264, 152.


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wellness check in an unprofessional manner, and Collier said he had reached out to his staff to

investigate it.239 Collier also agreed that Wilson’s messages to Robertson about not having access

to cold water are very concerning.240 After Wilson’s death, another inmate wrote to Robertson

that “no officer came and checked on the pod that we were house[d] all night on July 4 til the

next morning when they found Jason dead.”241

 6. Heat-related deaths are being undercounted and underreported because of TDCJ’s practices.

         Based on the available evidence, there is no dispute that high heat has caused or contributed

to the deaths of a number of TDCJ inmates in unair-conditioned units, including last summer. In

addition, three TDCJ practices have likely led to heat-related deaths of TDCJ inmates being

undercounted and unreported.

         First, TDCJ does not consistently take the core body temperatures of deceased inmates

found in high ambient temperatures, and it has no policy requiring temperatures be taken in those

circumstances.242 According to the medical literature, “[a] rectal temperature should be obtained

in all patients suspected of heat stroke.”243 According to Dr. Vassallo, a core body temperature is

“absolutely fundamental” to determining whether a death is heat-related,244 and failing to take a

core body temperature violates the commonly accepted medical standard of care.245 In fact,

taking a core body temperature is so “fundamental to being a doctor” that the entire point of one

oral board examination question is for the examinee to recognize that the temperature is missing




239 Final Hearing Tr. (Aug. 2, 2024) at 238:10   –239:8.
240 Id. at 241:19  –242:2.
241 Pls.’ Hearing Ex. 264 at 8.
242 Dkt. 155, TDCJ 30(b)(6) Dep. at 245:17      –246:4.
243 Pls.’ Hearing Ex. 275 at 5 (emphasis added).

                                            –10.
244 Final Hearing Tr. (July 31, 2024) at 52:8

               –58:6.
245 Id. at 57:21


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from the data presented.246

            Dr. Uribe agreed that taking a core body temperature is “essential,” because it is a “quick

way to establish one or more things that are possibly going wrong” with the body—especially in a

“particularly hot or cold environment.”247 He testified that the “documentation of the core body

temperature is critically important from a post mortem perspective.”248 “[T]he core body

temperature [triggers] the diagnosis of hyperthermia,” and the pathologist then has to figure out

“why does this person have such an elevated temperature”—for instance, was it “because they

were exposed to heat for a prolonged period of time,” or “were they . . . on certain drugs or

medications?”249 Dr. Uribe opined that routinely failing to take core body temperatures could lead

to heat being underreported as a contributing cause of inmate deaths.250

            Correctional leaders understand the importance of taking core body temperatures.

Plaintiffs’ correctional expert, Williams confirmed that a proper death investigation should

include measuring the ambient temperature of the cell or the living area where the individual

died, the heat index, and the individual’s core body temperature.251 A high core body

temperature is “not just a clue,” but “strong evidence that people are dying of heat stroke.”252

            Second, TDCJ only considers a death “heat-related” if the autopsy report lists hyperthermia

as the sole cause of death.253 In other words, heat must be the “sole causal factor” of the inmate’s




246
      Id.
247 Id. at 298:23–299:23.
248 Id. at 299:24–300:18.
249 Id. at 300:3–13.
250 Id. at 300:19–24.

                                             –23, 251:20–24.
251 Final Hearing Tr. (July 31, 2024) at 246:7
252 Id. at 251:2 –19.
253 Dkt. 155, TDCJ 30(b)(6) Dep. at 244:25   –245:12.

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death for TDCJ to consider it “heat-related.”254 But, according to Dr. Vassallo, there is no medical

distinction between identifying heat as a “contributing factor” or a “heat-related death.”255 Dr.

Vassallo testified that, “if a death is found to have heat as a contributing cause, [she] as a medical

professional [would] consider that to be a heat-related death.”256 Dr. Vassallo concluded that, if

you “only considered deaths in which heat was found to be the sole cause and did not consider

[deaths] where heat was found to be a contributing factor,” you would undercount heat-related

deaths.257 Dr. Uribe agreed that heat-related deaths would be undercounted if TDCJ took the

position that a death is not heat-related unless heat is the sole, direct cause of death.258

            Third, Dr. Uribe also testified that the standard of care for pathologists requires that an

autopsy be performed within 48 hours (two days) of an individual’s death.259 The autopsies for

the deaths listed above were all performed outside of this window: (i) Elizabeth Hagerty (5 days);

(ii) John Castillo (6 days); (iii) Patrick Womack (10 days); (iv) John Southards (6 days);

(v) Armando Gonzales (13 days); and (vi) Corey Smith (8 days).260 Dr. Uribe explained that the

timeliness of an autopsy is important because decomposition (autolysis) affects the accuracy of

the results, particularly toxicology and laboratory values.261 Dr. Uribe further opined that a

systemic pattern of delayed autopsies would likely result in TDCJ underreporting heat as a cause

of death.262




254
      Id.
                                             –72:19.
255 Final Hearing Tr. (July 31, 2024) at 71:21
256 Id. at 72:2–5.
257 Id. at 72:6–16.
258 Id. at 308:25–309:6.
259 Id. at 292:14–293:1.
260 See Sections IV.C.–IV.E., supra.

                                             –295:9.
261 Final Hearing Tr. (July 31, 2024) at 294:5
262 Id. at 295:10 –19.

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                     7. TDCJ is likely undercounting inmates’ heat-related injuries.

         In addition to heat-related deaths, Collier knows that TDCJ inmates also continue to

develop heat-related injuries. In his interrogatory responses, Collier identified more than a dozen

inmates diagnosed with heat exhaustion, heat stroke, or hyperthermia between May 5, 2023, and

September 17, 2023.263 Collier, likewise, reported to the Texas Legislature that 17 TDCJ inmates

developed heat-related illnesses in 2023 alone264:




This number is likely an undercount, since at least one report from UTMB identified 35 TDCJ

inmates with heat-related illnesses in a single month (June 2023).265 Collier acknowledged that he

was aware of UTMB’s June 2023 heat-related illness report but claimed that the data UTMB

reported to TDCJ contained “significant inaccuracies” based on differences in how UTMB and

TDCJ categorize heat-related illnesses.266

         Former TDCJ inmates’ firsthand accounts further illustrate the catastrophic

consequences of extreme heat. For example, Simmons testified that the summer heat affected her

physical and mental health during her ten-year incarceration in unair-conditioned units from 2012

to 2022. She testified that she lost her appetite, could not sleep, and became weaker and more

lethargic because of the heat.267 She saw several other inmates become lethargic, pass out, and




263 Pls.’ Hearing Ex. 206, Collier’s Response to Plaintiffs’ Interr. 8.
264 Pls.’ Hearing Ex. 102.
265 Pls.’ Hearing Exs. 84 & 85.
266 Final Hearing Tr. (Aug. 2, 2024) at 225:10  –228:3.
267 Final Hearing Tr. (July 30, 2024) at 28:25 –29:6

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suffer heat-induced seizures.268 She also saw “lots of women that [she] was housed with” require

medical attention and be taken away in ambulances “very frequently” during the summer.269

         According to Simmons, she and her fellow inmates tried to reduce the effects of the heat

by dousing themselves in water from the toilets in their cells.270 Simmons did this “[m]ore times

than [she could] count.”271 Other women in Simmons’s unit would even “inflict harm” on

themselves and “make it look like a suicide attempt” to “get into the air conditioned crisis

management center” and “get a break from the heat.”272

         Malouff was also housed in unair-conditioned TDCJ units over multiple summers. He

testified that the heat was “horrible”—you felt “dehydrated,” and it “literally sucks the oxygen

right out of you.”273 He witnessed two inmates go from “sweating profusely” to “no sweat” to

“discoloration” to “kind of [] queasiness” to passing out before finally receiving medical

attention.274 To Malouff, it looked like “they were having a heat stroke.”275 Malouff also said that

inmates in administrative segregation would “fairly regularly” start fires in their unit, so that the

corrections officers would respond by flooding the unit with water and the inmates could lay

down on the ground in the pools of water.276 These accounts suggest there are likely more heat-

related injuries than are reported.

                        8. TDCJ Staff Continue to Suffer Heat-Related Injuries.

         In addition to TDCJ inmates, TDCJ staff also suffer from a substantial risk of serious


268 Id. at 33:14–34:9.
269 Id. at 34:10–17.
270 Id. at 31:3–24, 35:15–36:8.
271 Id. at 31:17–24.
272 Id. at 35:17–36:8.
273 Id. at 179:24–180:2.
274 Id. at 181:23–182:9.
275 Id. at 182:7–8.

                                             –19, 182:24–183:2.
276 Final Hearing Tr. (July 30, 2024) at 180:3


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harm from the extreme heat in TDCJ facilities. TDCJ’s own training documents confirm that

heat-related illness is the fifth-leading cause of serious injuries among TDCJ employees.277 One

document specifically recognizes that “[n]o one is immune from suffering a heat-related illness,

from the fittest employee to those who may be prone to medical conditions.”278 It warns that

“[i]ncreased body temperatures, if left uncontrolled, may lead to delirium, convulsions, seizures,

and possibly even death.”279 And the document suggests treating the person by moving them “out

of direct sunlight [and] into an air conditioned environment, if possible.”280

        In 2022 and 2023, TDCJ staff filed nearly 80 workers’ compensation claims related to the

heat.281 These are some of the employee statements282:

          •   “Overheated, got dizzy, fell down and could not move or respond.”
          •   “I was sitting in my office and started to feel unwell and overheated. I felt liek [sic] I
              could not breath [sic].”
          •   “I was counting the wings at Beto when I became over heated. Reported to Capt.
              Kimberly Henslee. She then sent me to the chapel where I began to throw up, then
              Capt. Henslee sent me home.”
          •   “Driving home from work (Torres Unit/Food Service) after being exposed
              to excessive heat in the food service dept. Had a stroke on the way home.”
          •   “Heat from unit really got to me, extremely overheated causing me to get sick,
              really dizzy, headache, messing wiht [sic] my diabetes.”
          •   “While performing officer duty at the O.M. gate, too much heat.”
          •   “Heat exhaustion, dehydration.”
          •   “Heat exhaustion.”
          •   “It happened because of the heat and I was dehydrated.”
          •   “In C Row top felt light headed, requested water, after drinking three bottles
              I got dizzy and felt like I was going to pass out, left side of the body went
              numb.”
          •   “While watching my workers in the bath house, I got overheated, very weak,

277 Def.’s Hearing Ex. 13D at 15.
278
    Id.
279
    Id.
280
    Id.
281 Pls.’ Hearing Ex. 207, Collier’s Resp. to Interr. No. 10.
282
    Id.

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               confused and unable to respond. Also, I was dry heaving and felt nauseated,
               I vomited blood.”
          •    “Was working in high heat when I started to feel dizzy, then later felt chest pain
               and body aches.”

Simmons, likewise, testified that she saw “at least five” corrections officers in her unit pass out in the

high heat.283 Collier acknowledged during the hearing that TDCJ correctional officers continue to

develop heat-related illnesses.284 TDCJ reported 35 instances of heat-related illnesses of TDCJ staff

to the Texas Legislature in 2023.285

              E. Collier Knows that TDCJ’s Heat Mitigation Policies are Inadequate.

        TDCJ circulates a seasonal preparedness directive every year prior to the summer months

which discusses TDCJ’s heat mitigation measures and Administrative Directive 10.64 (“AD

10.64”), TDCJ’s policy regarding excessive and extreme heat temperatures, which provides

direction on how to mitigate extreme temperatures during the summer months.286 TDCJ uses a

seasonal preparedness checklist prior to the summer months to ensure the facilities, staff, and

inmate population are prepared for extreme heat.287 The checklists require every unit to respond

to 15 checklist items concerning access to heat mitigation measures, whether staff and inmates

are trained on heat mitigation and precaution measures, whether equipment is in working

condition, and if AD 10.64’s requirements are being implemented.288 TDCJ trains inmates and

staff on the effects of heat and how to mitigate these effects.289 TDCJ also trains individuals in




283 Final Hearing Tr. (July 30, 2024) at 39:16 –18.
284 Final Hearing Tr. (Aug. 2, 2024) at 229:4  –231:11.
285 Pls.’ Hearing Ex. 102.
286 Final Hearing Tr. (Aug. 1, 2024) at 14:3–11; 16:17–17:15; 18:4–20; 19:10–19; Def.’s Hearing Ex. 1; Def.’s
Hearing Ex. 53.
287 Final Hearing Tr. (Aug. 1, 2024) at 39:12–40:9; Def.’s Hearing Ex. 9.
288 Def.’s Hearing Ex. 9 at 8–12.
289 Final Hearing Tr. (Aug. 2, 2024) at 167:1–9.


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training to become corrections officers (“cadets”) in heat preparedness.290 All TDCJ staff are

required to carry a pocket card to help them recognize the signs and symptoms of heat-related

illness, and know how to treat and prevent such illness.291

        TDCJ’s heat mitigation policy provides for the provision of respite rooms, cold showers,

fans, ice water, and a reusable cup to use to drink from and refill with water.292 Collier

acknowledged that, “despite TDCJ’s heat mitigation policies and measures, heat was a factor in at

least three [inmates’] death[s] last summer.”293 He admitted that 17 TDCJ inmates suffered heat-

related illnesses in summer 2023, despite TDCJ’s heat mitigation measures.294 And he recognized

that, despite TDCJ’s heat mitigation policies and measures, TDCJ inmates submitted nearly 6,000

heat-related grievances in 2023 alone.295 TDCJ itself created a “Heat Strike Team” initiative in

which groups of TDCJ employees make unannounced visits to individual units to evaluate a

unit’s compliance with heat-related procedures and heat mitigation protocols by using an audit

tool, talking with inmates and staff, visiting all housing and work locations, ensuring the unit has

adequate ice and water, looking at respite and how often the inmates get breaks while working,

and ensuring all employees are carrying their pocket cards.296 The Heat Strike Team then drafts a

compliance report and can notify TDCJ’s executive leadership if it believes a problem is more

systematic.297

        In 2017, Judge Keith Ellison (“Judge Ellison”) concluded that “the mitigation measures put



290 Final Hearing Tr. (Aug. 1, 2024) at 226:13–229:11.
291 Final Hearing Tr. (Aug. 1, 2024) at 42:19–43:7; 229:12–23; Def.’s Hearing Ex. 12.
292 Final Hearing Tr. (Aug. 1, 2024) at 317:10–11; 30:4–17; Final Hearing Tr. (Aug. 2, 2024) at 169:5–12.
293 Final Hearing Tr. (Aug. 2, 2024) at 221:8–12.
294 Final Hearing Tr. (Aug. 2, 2024) at 222:4–7, 224:10–14; Pls.’ Hearing Ex. 102.
295 Final Hearing Tr. (Aug. 2, 2024) at 221:13–222:3; Pls.’ Hearing Ex. 102 at 4.
296 Final Hearing Tr. (Aug. 1, 2024) at 262:1–265:19.
297 Id. at 265:22–266:13; 268:25–269:2.


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in place by TDCJ are insufficient to combat the substantial risk of serious injury or death faced by

the inmates at the [Wallace] Pack Unit during the summer months.”298 Judge Ellison explained

that, “[s]ince the 12 heat-related deaths in 2011 and 2012, TDCJ has implemented, and attempted

to implement, many of the mitigation measures discussed by the Fifth Circuit in Ball v. LeBlanc.”299

In Judge Ellison’s view, however, these measures did not “reduce the substantial risk of heat-

related illness faced by all of the men at the Wallace Pack Unit, and particularly not the men with

heat sensitivities.”300 The following year, the Texas House Committee on Corrections reached the

same conclusion: “Based on the medical information about human health and heat-related health

risks, TDCJ cannot rely only on mitigation measures to ensure the well-being of inmates and

corrections personnel.”301

            In July 2022, a study authored by Dr. Carlee Purdum (“Dr. Purdum”) and published by

Texas A&M (“Dr. Purdum’s study” or the “Purdum study”) concluded that, “despite [TDCJ’s]

current heat mitigation policies, nearly every year, there are reports of incarcerated people and

staff falling extremely ill and/or dying from complications from extreme heat in Texas prisons.”302

The study warned that “[i]ncreasing annual temperatures and the increase of days over 100

degrees in Texas will continue to exacerbate the degradation of health for both incarcerated people

and staff” in the TDCJ system.303 The study based its conclusions on survey responses from

TDCJ inmates which indicated:

       •    66% said they did not have access to ice.304


298 Cole, 2017 WL 3049540, at *10.
299 Id.; see also Ball v. LeBlanc, 792 F.3d 584, 599 (5th Cir. 2015) (“Ball I”).
300
      Id.
301 Plaintiffs’ Hearing Ex. 34 at 58.
302 Pls.’ Hearing Ex. 55 at 3 –4.
303 Id. at 4.
304 Id. at 22.


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     •    61% said they did not have access to cool-down showers.305
     •    60% said wellness checks weren’t happening regularly.306
     •    47% reported being denied access to respite areas.307
     •    29% said that they knew of at least one heat-related death in their own unit or another.308
     •    11% said they did not receive access to cold water, and the respondents who reported
          receiving access to cold water described “a pattern or persistent inconsistency.”309

TDCJ’s heat-mitigation policies were in place during the years of Dr. Skarha’s study, 2001-2019,

as well, yet heat-related deaths continued unabated.310 According to Dr. Skarha, if mitigation

measures were effective in preventing heat-related deaths in Texas prisons without air

conditioning, she would have expected to see no effect from heat on mortality in those facilities.311

But she did see an effect, even while TDCJ’s mitigation measures were in place.312

          Collier also personally acknowledged having received Dr. Purdum’s and Dr. Skarha’s

studies in 2022 and being aware of their findings.313 He said that he had asked TDCJ’s “research

director” Barbee to “look at” Dr. Skarha’s study,314 but he did not recall having asked anyone at

UTMB or anyone with an epidemiology degree to review that study.315

          In the face of evidence that 271 people over 19 years likely died from heat in Texas

prisons, Collier’s Rule 30(b)(6) deponent testified that TDCJ did not give Dr. Purdum’s study or

Dr. Skarha’s study “much credibility,” because TDCJ did not “sanction” them and was not




            –28.
305 Id. at 27
306 Final Hearing Tr. (Aug. 2, 2024) at 237:16   –238:4; Pls.’ Hearing Ex. 55 at 14.
                             –32.
307 Pls.’ Hearing Ex. 55 at 31
308 Final Hearing Tr. (Aug. 2, 2024) at 235:11  –17; Pls.’ Hearing Ex. 55 at 18.
309 Final Hearing Tr. (Aug. 2, 2024) at 240:16  –241:18; Pls.’ Hearing Ex. 55 at 20.
310 Pls’ Hearing Exs. 70 & 75.
311 Final Hearing Tr. (July 30, 2024) at 172:24  –173:7.
312 Id. at 173:9   –11.
313 Final Hearing Tr. (Aug. 2, 2024) at 234:8–235:23, 243:10–245:11.
314 Id. at 244:6–245:11.
315 Id. at 244:21–245:11.

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“involved” in them.316 Collier’s deponent called Dr. Skarha’s study “nothing more than writing on a

piece of paper.”317 Collier’s deponent testified that TDCJ did not do anything to investigate the

findings of either study.318 Nor did Collier or anyone else who testified at the hearing on his

behalf identify any actions or policy changes made in response to either study.

         Plaintiffs’ corrections expert Dean Williams testified that, if he received notice of

something like the Skarha study, he would not ignore it; instead, it would have raised “high

alarms” with him.319 In Williams’s view, not responding to evidence of deaths, staff illnesses,

inmate illnesses, and scientific studies puts people’s health and safety at risk.320 Collier’s own

corrections expert, John Baldwin (“Baldwin”), agreed that if he received a study from a credible

source alerting him to dangerous conditions in his prison system, he would review the study.321

Baldwin acknowledged that, if he received information like what was contained in Dr. Purdum’s

study, he would investigate it.322 And Collier’s corrections and correctional risk management

expert, Paul Morales testified that “any reasonable person in [his] position . . . or in Collier’s

position” would look into the Purdum study’s findings.323

         Even if he was not moved to action by multiple reputable studies, Collier knew TDCJ’s

heat mitigation policies were inadequate. He admittedly knew that dozens of TDCJ inmates had

died or fallen ill because of extreme heat with those measures in place. Evidence presented at the

hearing, which he attended, underscored those inadequacies.



316 Dkt. 155, TDCJ 30(b)(6) Dep. at 260:15     –261:14.
317 Id., at 262:19  –263:1.
318 Id., at 270:21  –274:23, 283:18–284:14.
319 Final Hearing Tr. (July 31, 2024) at 240:23  –241:24.
320 Id. at 242:23  –243:2.
321 Final Hearing Tr. (Aug. 2, 2024) at 54:24  –55:3.
               –60:11.
322 Id. at 59:13
323 Final Hearing Tr. (Aug. 1, 2024) at 278:16  –280:13.

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                   1. TDCJ’s heat score system is arbitrary, inadequate, and ineffective.

            In 2014, Collier was sued by a group of inmates at one TDCJ prison, the Pack Unit.324

That case, Cole v. Collier, also concerned excessive heat conditions.325 The case ultimately settled,

and as part of the 2018 settlement, TDCJ contracted with an outside medical expert to create a

method of determining which inmates most needed air-conditioned housing.326 A “heat score” is

generated using information from the inmate’s electronic health record.327 Inmates are given a

preliminary heat score upon intake,328 and inmates then receive a starting heat score after the 30-

day intake process has concluded.329 If an inmate has a heat score of one or above, an inmate is

placed in a cool bed.330 Heat scores are updated multiple times a day, and TDCJ reviews a report

of changes in heat scores and a report of all inmates with heat scores, which are both generated

at 10 p.m. every night.331 Individuals without a heat score but who have suffered from heat-

related illness are placed in cool beds.332 Further, developmentally disabled inmates who are in the

“DDP” mental health program are placed in cool beds whether they have a heat score or not.333

Wardens have discretion to place individuals without heat scores in cool beds if extra cool beds

exist.334

            The testimony during the preliminary injunction hearing revealed that TDCJ’s heat score

system is, in practice, arbitrary, inadequate, and ineffective. Although all TDCJ inmates face a


324
      Cole v. Collier, No. 4:14-CV-1698, 2017 WL 3049540 (S.D. Tex. July 19, 2017).
325
      Id.
326 Final Hearing Tr. (Aug. 2, 2024) at 163:3 –9.
327 Final Hearing Tr. (Aug. 1, 2024) at 111:3 –9.
328 Id. at 160:6–10.
329 Id. at 160:6–161:19.
330 Id. at 196:12–13.
331 Id. at 170:22–171:6.
332 Id. at 167:10–168:3; 102:15–24; Def.’s Hearing Ex. 72.
333 Final Hearing Tr. (Aug. 1, 2024) at 187:5–16.
334 Id. at 180:14–181:5.


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substantial risk of serious harm from the extreme heat in unair-conditioned facilities,335 only

approximately 12,289 of the 134,500 individuals incarcerated in the TDCJ system (i.e., less than

10%) currently have a heat score.336 Collier’s deponent and Fitzpatrick confirmed that Tiede does

not currently have a heat score, even though he is 65 years old and has been diagnosed with a

stroke, diabetes, chronic obstructive pulmonary disease, hypertension, and obesity.337 As Dr.

Vassallo testified, if TDCJ’s heat score system does not warrant housing Tiede in an air-

conditioned cell, she has no confidence in the legitimacy or adequacy of the heat score system.338

Castillo apparently did not have a heat score, either, despite being diagnosed with epilepsy and

taking both an antiseizure medication and an SSRI at the time of his death.339 Nor did Hagerty

(despite being a diabetic, having an unspecified mood disorder, and taking an SSRI at the time of

her death),340 Womack (despite being diagnosed with major depressive disorder, and taking an

SSRI and an anticholinergic at the time of his death),341 or Southards (despite taking an SSRI and

an anticholinergic at the time of his death) have a heat score.342

        Dr. Vassallo testified about conditions and medications that can increase an inmate’s risk

of heat-related illness or death. Dr. Vassallo stated that “[s]tudies of heat-related deaths during

heat waves have indicated that subjects with mental illness had an increased risk of death.”343 She

explained that several classes of prescription drugs “impair thermoregulation,” including: (1)



335 Final Hearing Tr. (July 31, 2024) at 127:7 –11.
336 Final Hearing Tr. (Aug. 1, 2024) at 25:3–5.
337 Dkt. 155, TDCJ 30(b)(6) Dep. at 205:7    –206:7; Final Hearing Tr. (Aug. 1, 2024) at 200:25–
201:14.
338 Final Hearing Tr. (July 31, 2024) at 124:13–125:5.
339 Pls.’ Hearing Ex. 161 at 12.
340 Pls.’ Hearing Ex. 169-A at 27.
341 Pls.’ Hearing Ex. 200, at 6
342 Pls.’ Hearing Ex. 192-A at 65.
343 Dkt. 50-2, Ex. B, S. Vassallo Decl. ¶ 36.


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cardiovascular drugs, (2) diuretics, (3) sympathomimetics or vasoconstrictors (such as nasal

decongestants like Sudafed), (4) anticholinergics, and (5) SSRIs.344 She further concluded that

“[p]eople over the age of 65 have 10-12 times increased risk of heat-related illness and death than

those younger than 65,” and that the “mortality from heatstroke in the elderly exceeds 50%.”345

UTMB’s own policies identify many of the same conditions and medications that affect heat

tolerance—which, by and large, are not incorporated into TDCJ’s heat score algorithm.346

          Indeed, as Dr. Leonardson acknowledged, the following individuals would not receive a

heat score under TDCJ’s system: (1) a 90-year old with hypertension; (2) an individual with

seizure disorder; (3) an individual with diabetes who is under the age of 65; (4) an individual with

liver cirrhosis who is under the age of 65 and not taking certain medications; (5) an individual with

asthma or pulmonary disease who is under the age of 65; or (6) a 48-year-old inmate with

diabetes, peripheral vascular disease, obesity, asthma, and bilateral below-the-knee amputations

due to diabetic gangrene.347And, Dr. Leonardson is not aware of any policy requiring the TDCJ’s

health service liaison (who are not medical doctors, but rather, nurses) to follow a doctor’s

recommendation that an inmate be placed in an air-conditioned cell.348 Baldwin testified that

inmates’ medical providers should determine which inmates are vulnerable and need to be housed

in air-conditioned cells.349

                               2. Respite areas are inadequate and ineffective.

          Respite areas—i.e., designated air-conditioned areas in TDCJ facilities—are also



344 Id. ¶ 37.
345 Dkt. 50-2, Ex. B, S. Vassallo Decl. ¶ 38.
346 Final Hearing Tr. (Aug. 1, 2024) at 126:20  –127:9, 135:17–136:22; Pls.’ Hearing Ex. 274.
347 Final Hearing Tr. (Aug. 1, 2024) at 114:16  –115:6, 135:24–136:2-22, 140:11–24.
                –103:13; 123:16–21.
348 Id. at 102:25
349 Final Hearing Tr. (Aug. 2, 2024) at 51:6–10.

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inadequate and ineffective at reducing the substantial risk of harm posed by extreme heat.

         In practice, evidence presented at the hearing established that inmates do not have

sufficient access to respite areas. TDCJ policy states that inmates “may request access to a respite

area 24 hours per day, seven days per week.”350 However, corrections staff is required to

administer access to respite areas, and as Collier acknowledged, there are staffing shortages

throughout TDCJ.351 He called staffing a “significant problem,” and TDCJ itself recognized in a

report to the Texas Legislature that staffing is TDCJ’s “most significant major issue.”352 Professor

Michele Deitch (“Professor Deitch”), an expert in prison policy, testified that TDCJ’s widespread

understaffing has had an “enormous impact” on TDCJ’s ability to implement its heat- mitigation

measures.353 She testified that understaffing prevents TDCJ from effectively managing the respite

room system, and that the respite areas do not have enough space to accommodate all of the

inmates who would like to use them.354 This is consistent with what has been publicly reported:

TDCJ’s respite areas are “crowded and uncomfortable,” “packed with inmates,” and “almost

nonexistent” because of the agency’s staffing crisis.355

         Professor Deitch’s testimony is also consistent with testimony from current and former

TDCJ inmates. In a video, Tiede confirmed that TDCJ has a “huge” staff shortage because

corrections officers “don’t want to come to work” in the heat, and that the ratio of corrections

officers to inmates is completely “out of proportion” as a result.356 Tiede said that respite areas are




350 Def.’s Hearing Ex. 1 at 24.
351 Final Hearing Tr. (Aug. 2, 2024) at 239:17 –19.
352 Id. at 254:10–20; Pls.’ Hearing Ex. 266 at 303–04.
353 Final Hearing Tr. (July 31, 2024) at 152:6–18.
354 Id. at 149:1–24.
355 Dkt. 50-35, Ex. 24.
356 Pls.’ Hearing Ex. 243.


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“hard to come by” in his unit.357 Further, Simmons testified that she and other inmates in her unit

could not use respite rooms late at night, and they “never had respite available” after midnight.358

Starting at about 10:00 a.m., women in her unit would start asking to go to a respite room, and

sometimes the response from staff would be “respite’s not open yet,” or that they did not “have

anybody [on staff] to open respite yet.”359 Access to respite rooms can also vary depending on an

inmate’s security level; inmates in restrictive custody face even more difficulties accessing respite.

When Simmons was in a higher security level cell, respite was only available once a day around

8:00 or 9:00 p.m.360

          Simmons further testified that her unit was often short-staffed, and even more so in the

summer months, which affected her ability to use respite rooms.361 There were also significant

barriers to using the respite rooms—inmates were required to get fully dressed in their TDCJ

uniform and clean their cells, and respite rooms “can only fit so many people,” so inmates often

had to wait in line, in the heat, to access one.362 Once in the respite rooms, inmates were

sometimes told “to face the wall,” “not to talk,” or to “sit on the floor.”363 And, although TDCJ

policy states that inmates “shall be permitted to stay in the respite area as long as necessary,”364

Simmons testified that she could only stay in those areas for fifteen minutes to an hour.365 As a

result, the respite rooms were not effective in reducing the physical effects of the heat.366 If



357 Pls.’ Hearing Ex. 244.

                                            –11.
358 Final Hearing Tr. (July 30, 2024) at 41:1
359 Id. at 41:3–7.
360 Id. at 41:7–11.
361 Id. at 41:18–42:5, 43:6–11.
362 Id. at 43:12–44:12.
363 Id. at 46:1–10.
364 Def.’s Hearing Ex. 1 at 24.
365 Final Hearing Tr. (July 30, 2024) at 41:15  –17.
366 Final Hearing Tr. (July 30, 2024) at 47:23  –25.

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inmates refused to leave the respite area, they would be physically removed and placed in solitary

confinement.367

         Malouff’s access to respite rooms was similarly limited. While he was in the Wallace Pack

Unit, the respite room was located in a different building that was a “quarter [or] half mile”

away.368 He had to put in a written request for a TDCJ staff member to escort him, and sometimes

it would take a half-hour to an hour for him to be escorted, depending on the number of staff

available.369 There were times when his written request for respite “wasn’t responded to at all.”370

And he could spend a “very short” period of time there—“maybe 15 [or] 20 minutes”—before he

was brought back to his unair-conditioned dorm.371 He believes short staffing also affected his

ability to use respite rooms.372 From his perspective, the respite rooms were not effective at

reducing the effects of the heat on him because “it was short-term,” “it really didn’t do anything

for you, and as soon as you left, you went right back into that heat.”373

         Not only are respite rooms ineffective as administered by TDCJ, but even when available,

they still fail to provide meaningful relief from excessive heat. Even assuming inmates could

readily access a respite area, that still puts the onus on them to affirmatively identify that they are

exhibiting symptoms of a heat-related illness. The issue with that approach, according to Dr.

Vassallo, “is that people don’t know they are in trouble” from the heat, so they can “start having

cognitive problems from heat illness before they realize they need to go to [a respite room].”374 In



367 Id. at 46:17–47:4.
368 Id. at 185:8–13.
369 Id. at 185:14–186:3.
370 Id. at 186:4–6.
371 Id. at 186:10–14.
372 Id. at 186:7–9.
373 Id. at 186:15–21.

                               –136:15.
374 Dkt. 50-42, Ex. 32 at 135:19


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other words, “the rapidity, the speed at which heatstroke strikes means that checking people that

are walking around, somebody is sleeping in their bed, everything looks fine . . . , and they can still

suffer a heatstroke without the correction staff realizing they’re in trouble.”375 This is consistent

with the medical literature on heat stroke, which notes that patients experiencing heat stroke

may only initially complain of “weakness, lethargy, nausea, or dizziness,” and “[t]he presentation

of older adults with heat stroke may be subtle and nonspecific early in the course of the

disease.”376

           Moreover, even if inmates were able to readily access respite areas, these areas are, by

definition and design, only a temporary respite from the permanent condition of extreme

summer heat in unair-conditioned prisons. As Dr. Vassallo testified in Cole case, when inmates

are not in air conditioning, “they are subjected to the temperatures . . . which are risky and cause

harm, including sickness, morbidity, and mortality.”377 Thus, even if TDCJ inmates get “three or

four or five hours” in respite—which does not happen in practice based on the evidence

presented at the hearing—“that leaves . . . 19 or 20 hours in these heat conditions.”378 In other

words, “it’s the total accumulated heat stress for the 20 hours you’re in the [extreme]

temperatures” that “matters” from a risk perspective.379 This opinion was supported by a study,

which concluded that there were “ten percent more death[s]” among people who simply visited

an air-conditioned location, as compared to those who had air conditioning in their homes full-

time.380



375 Dkt. 50-42, Ex. 32 at 135:23   –136:5.
376 Pls.’ Hearing Ex. 275.
377 Dkt. 50-42, Ex. 32 at 135:25 –136:12.
378 Id. at 135:16  –18.
379 Final Hearing Tr. (July 31, 2024) at 43:1   –12.
380 Id. at 40:16–41:19; Pls.’ Hearing Ex. 13.

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            3. Cold showers do not guard against the health risks of constant extreme heat.

          TDCJ policy says that, at times of high heat, prisons should “[a]llow additional showers

for inmates when possible.”381 However, Professor Deitch testified that TDCJ’s widespread

understaffing issues prevent TDCJ staff from consistently bringing inmates to cold showers.382

This testimony was supported by that of the former TDCJ inmates at the hearing. Indeed,

Simmons testified that cold showers were not available in her unit at all for several hours during

count times and overnight from 10:00 p.m. to 7:00 a.m.383 Even when they were available, her

unit had only one cold shower for “80 to 125 women” who “need[ed] to get relief from the

heat.”384 And, as discussed, the night before he died, Womack’s request for a respite shower was

denied.385 One of Womack’s fellow inmates noted that this denial was “nothing unusual for [the]

Coffield [Unit],” and that the “excuse is always we are understaffed.”386

          Moreover, even if TDCJ provided inmates with sufficient access to cold showers, the

relief provided from showers is, much like that provided by respite areas, temporary in nature.

Dr. Vassallo testified that cold showers only work “while you’re wet” and while you are

experiencing “evaporative cooling.”387 As soon as you are dry, “you are no longer being cooled by

that shower.”388 In other words, the shower will only “fix” the problem—i.e., extreme heat—“for

about ten minutes” until the inmate “dries off.”389 Dr. Vassallo also discussed a meta-analysis of

various heat-mitigation measures, which concluded that increased cold showers or baths did not


381 Defs.’ Hearing Ex. 1 at 41–42.
                                             –12.
382 Final Hearing Tr. (July 31, 2024) at 352:6

                                             –14.
383 Final Hearing Tr. (July 30, 2024) at 49:12
384 Id. at 49:14 –17.
385 Pls.’ Hearing Ex. 200-B at 2, 42.
386 Id. at 42.

                                             –20.
387 Final Hearing Tr. (July 31, 2024) at 113:3
388 Id. at 113:19 –20.
389 Id. at 135:5 –21.

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lead to a “statistically significant” difference in mortality rates from high heat.390 In short, Dr.

Vassallo believes that “taking frequent [cold] showers doesn’t help” address the substantial risk

of serious harm posed by extreme heat.391

                4. Fans are inadequate and can be counter-productive in extreme heat.

          According to Dr. Vassallo, fans do not lessen the risk of heat-related illness, either.392 In

fact, when the heat index exceeds 99°, “fans elevate the risk of heat-related illness, increasing the

heat load on the body by moving hot air across the skin.”393 In other words, “increased wind speeds

of hot air can actually raise the skin temperature and thus produce opposite results by increasing

core body temperature.”394 This is consistent with guidance from the United States

Environmental Protection Agency, which warns: “[U]sing a portable electric fan alone when heat

index temperatures exceed 99°f actually increases the heat stress the body must respond to by

blowing air that is warmer than the ideal body temperature over the skin surface.”395 Dr. Vassallo

has therefore opined that “providing additional fans does nothing to address the health risks of

the extreme temperatures.”396

 5. Access to cold water is inconsistent and does not reduce the long-term effects of the heat on
                                          TDCJ inmates.

          As Professor Deitch testified, TDCJ’s widespread understaffing issues prevent TDCJ staff

from consistently bringing inmates ice or water.397 This testimony was supported by the experiences



390 Final Hearing Tr. (July 31, 2024) at 42:7–14; Pls.’ Hearing Ex. 13 at 5–6.
391 Final Hearing Tr. (July 31, 2024) at 117:18–25.
392 Dkt. 50-2, Ex. B, S. Vassallo Decl., ¶ 41.
393 Id. ¶ 41.
394 Pls.’ Hearing Ex. 13 at 5–6.
395 Dkt. 50-28, Ex. 17, Excessive Heat Events Guidebook (March 2016), U.S. Environmental Protection

Agency, at 37 (emphasis added).
396 Dkt. 50-2, Ex. B, S. Vassallo Decl., ¶ 41.
397 Final Hearing Tr. (July 31, 2024) at 152:6–18.


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of former TDCJ inmates, including Simmons, who testified that there was rarely enough ice water to

meet the demand of the women in her unit, as they would only receive one cooler for a dorm with

124 women.398 Malouff testified that, while he was incarcerated, it could take up to eight hours for

TDCJ staff to refill the water cooler in his unit.399 Individuals incarcerated in TDCJ also reported to

Robertson that they went “eight to nine hours at a time with no water” in July 2024, and Wilson

repeatedly emailed Robertson about the shortage of water—and the fact that inmates in his unit

would only receive water once per day—in the weeks before he died.400

         Dr. Vassallo also opined that “the provision of additional ice [water], on its own, does not

mitigate the risk of heat-related illness.”401

 6. Evidence submitted by Collier raises substantial concern about whether TDCJ implements its
                  heat mitigation measures in accordance with TDCJ policy.

         According to TDCJ policy, units are only required to provide inmates access to respite

areas “during periods of excessive heat,” and they are only required to provide inmates other heat

mitigation measures—cold showers, fans, and ice water—“where the heat index is above 90°F.”402

So, TDCJ’s heat mitigation measures depend on TDCJ staff diligently and accurately monitoring

and reporting the heat index at their units.

         Evidence presented by Collier at the preliminary injunction hearing cast substantial doubt

on TDCJ’s own processes and procedures for keeping track of the heat index and, in turn,

whether TDCJ is complying with its own heat-mitigation policy. Collier introduced into evidence

a manual temperature log reporting the outside air temperature, humidity, and heat index at the



398 Final Hearing Tr. (July 30, 2024) at 48:16  –50:9.
               –10.
399 Id. at 187:4
400 Pls.’ Hearing Exs. 137 & 264.
401 Dkt. 50-2, Ex. B, S. Vassallo Decl. ¶ 41.
402 Def.’s Hearing Ex. 1 at 41–42.

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Mark W. Stiles Unit from July 2022.403 During the direct examination of Collier, his counsel

focused on the outside temperature at the unit on July 12, 2022, which was logged at a consistent

79o from 12:30 a.m. to 4:30 p.m.404

         After having consulted an authoritative source on the matter during the hearing, this

Court took judicial notice that, on July 12, 2022, the temperature actually reached a high of 96o in

Beaumont, Texas (where the Stiles Unit is located), despite TDCJ’s log indicating that the

temperature never exceeded 87°.405 Additionally, the log recorded the heat index as being lower

than the ambient temperature, despite 90% humidity.406 And the temperatures included in the log

for that day were noted as being recorded by two different people, despite being in the same

handwriting.407 Because of these discrepancies, the Court expressed concern that the temperature

log for July 12, 2022 was fabricated, or at least inaccurate.408 The logs for several other days in

Defendants’ Exhibit 76 have similar discrepancies— including July 1 and 2, 2022 (“Wheeler” is in

different handwriting, despite purportedly being entered by the same person); July 6, 2022 (similar

handwriting for entries purportedly by different people); July 7, 2022 (similar handwriting and pen

for entries purportedly by different people); July 13, 2022 (same); and July 14, 2022 (same).409 The

July 12, 2022 temperature log, Defendant’s Exhibit 76, is seen below.




403 Final Hearing Tr. (Aug. 2, 2024) at 195:12   –15, 217:20–219:1 (admitting Def.’s Ex. 76 into evidence).
404 Def.’s Hearing Ex. 76 at 12.

                                             –277:10.
405 Final Hearing Tr. (Aug. 2, 2024) at 276:16
406 Id. at 277:10–15.
407 Id. at 277:16–19.
408 Id. at 278:20–279:1.
409 Def.’s Hearing Ex. 76 passim.


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         Following the hearing, an investigator hired by Collier to investigate the discrepancies in

the temperature logs concluded the July 12, 2022, temperature log “is obviously and clearly

false.”410 The investigator’s report, submitted to the Court by Plaintiffs411 and unobjected to by

Collier,412 concluded that the temperature log was “not reflective of actual events” and that “the

evidence supports periods of carelessness in record creation and/or retention and an attempt by




410 Dkt. 200-2.
411 Dkt. 200-3.
412 See Resp., Dkt. 201.


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the unit to avoid reporting missing temperature logs.”413 When temperature logs were collected,

“staff reported there were logs the unit could not locate or had been defaced (e.g. doodles, stick

figure cartoons, etc.) by staff working the duty post.”414 So, “the unit’s approach was to ‘recreate’

these logs,” and it is “unlikely [the staff] would have done so without knowledge and/or consent

of unit administrators.”415 The investigator observed at least two other logs exhibited the same

irregularities as the July 12, 2022 log.416

            The falseness of Defendant’s Exhibit 76 and the discrepancies between the number of

heat-related illnesses that UTMB reports to TDCJ and the number TDCJ reports to the Texas

Legislature (discussed in Section IV.G., supra) raise significant questions about the veracity and

reliability of the other documents Collier presented at the hearing regarding TDCJ’s compliance

with its own heat mitigation policies.417 As a result, the Court has no confidence in the data that

TDCJ generates and uses to implement its heat mitigation measures and record the conditions

within its facilities. The Court has no doubt that TDCJ is undercounting heat-related injuries and

deaths, keeping unreliable records about temperature conditions, and inadequately providing heat

mitigation measures.

                F. Air Conditioning is the Only Effective Protection from Extreme Heat.

1. Reducing temperatures to safe levels is the least restrictive means to address the risks posed by
                                           extreme heat.

            The parties do not disagree on the central issue in this case: that air conditioning is sorely

needed across TDCJ facilities as a matter of inmate health and safety. Even Collier’s Rule


413 Dkt. 200-3 at 3.
414 Id. at 4.
415 Id.
416
      Id.
417 Final Hearing Tr. (Aug. 2, 2024) at 282:20 –283:6 (“If what [TDCJ is] saying is they’re doing all this good
stuff but they’re doing it [relying on these temperature logs], that’s a problem.”).

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30(b)(6) deponent agreed that installing air conditioning “is the right thing to do, it is the humane

thing to do, and it is something [TDCJ] should have done a long time ago.”418 He testified that it

is “the right thing to do because of the increased temperatures that the state is seeing, the

increase of medication that . . . inmates are on as opposed to 20 years ago, 30 years ago, 40 years

ago,” and because “[t]here’s a lot of factors that exacerbate the need for wanting to air condition”

TDCJ facilities.419 Collier’s Rule 30(b)(6) deponent was not aware of any heat-related illnesses at

the Wallace Pack Unit since air conditioning was installed there.420 And he was not aware of any

heat-related illnesses that have occurred in air-conditioned housing areas in the TDCJ system in

the last 30 years.421

         TDCJ’s former Director of Facilities, Cody Ginsel, agreed that installing air conditioning

in all of TDCJ’s facilities would reduce the risk of heat-related injuries among TDCJ staff.422 And

Collier’s corrections and correctional risk management expert, Morales, confirmed that air

conditioning TDCJ’s facilities would “eliminate the risk of injury from the heat.”423 Collier himself

acknowledged that he wants air conditioning in all TDCJ facilities and recognized that air

conditioning is the best solution to reduce temperatures in TDCJ facilities.424 He stated that the

only reason air conditioning has not been installed in all housing areas throughout TDCJ is because

the Texas Legislature has not appropriated the funds for TDCJ to do so.425




418 Pl.’s Hearing Ex. 255, TDCJ 30(b)(6) Dep. at 304:23      –305:4.
419 Id. at 38:13 –39:11.
             –100:3, 161:8–12.
420 Id., 99:25

             –100:3, 161:13–21.
421 Id., 99:25
422 Final Hearing Tr. (Aug. 1, 2024) at 254:19 –23.
423 Final Hearing Tr. (Aug. 2, 2024) at 283:8 –16.
424 Id. at 254:24  –255:20.
425 Pls.’ Hearing Ex. 254, Collier’s Resp. to Interr. 17.


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         Dr. Vassallo opined that TDCJ inmates are “still dying” from extreme heat despite the

mitigation measures, because those measures “do[] not remove the heat.”426 Dr. Vassallo explained

that having working air conditioning has been “associated with an 80% reduction in the risk of death

due to heat and cardiovascular disease and a 66% reduction in mortality due to cardiovascular

disease.”427 “In one study, it was estimated that 50% of the deaths related to a heat wave could have

been prevented with a working air conditioner. Lack of air conditioning was reported in 91% of

deaths in one report.”428 Dr. Vassallo opined that this data is “directly applicable to the Texas

prisons.”429 In her view, “excess morbidity and mortality in TDCJ facilities resulting from the

extreme heat of the Texas summers can only be combatted by bringing the temperature in the

prisons down.”430 “[P]utting everyone” in the TDCJ system “in air conditioned housing [is] the only

way to eliminate the heat risk and the deaths and illnesses.”431 Or, as Dr. Vassallo put it, if “[y]ou

remove the heat” through temperature control, then “nobody dies [from the] heat.”432

         According to the Skarha study, the risk of dying in Texas prisons with air-conditioned

housing areas actually decreased as the heat index increased.433 There was no association between

an increase in temperature and the risk of death in prisons with air conditioning—which indicates

that air conditioning has a protective effect on human health.434

         Plaintiffs’ corrections expert, Williams testified that TDCJ’s mitigation measures are not



426 Final Hearing Tr. (July 31, 2024) at 39:4–12.
427 Dkt. 50-2, Ex. B, S. Vassallo Decl., ¶ 40.
428
    Id.
429
    Id.
430
    Id.
431 Final Hearing Tr. (July 31, 2024) at 71:11–14.
432 Id. at 39:9–12.
433 Pls.’ Hearing Ex. 70 at 5.
434 Final Hearing Tr. (July 30, 2024) at 162:22–163:2, 168:16–23; Pls.’ Hearing Ex. 70 at 5.


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an appropriate solution because they “accept[] the fact that” people “are going to die as a result

of” the heat, and that the underlying problem “can’t be fixed by other means.”435 In Williams’s

view, the only solution to the risks posed by extreme heat is air conditioning.436 Collier’s

corrections expert, Baldwin, likewise agreed that the solution to the problem of extreme heat is to

install air conditioning.437

           In Cole v. Collier, Judge Ellison granted a preliminary injunction in 2017 (before the parties

reached a settlement) that, in part, ordered Collier to “lower the temperature in the housing areas

of heat-sensitive inmates” in the Wallace Pack Unit.438 To comply, Collier installed temporary air

conditioning in the Wallace Pack Unit.439 Malouff was in the Wallace Pack Unit when TDCJ

installed temporary air conditioning.440 Malouff testified that he believed that the temporary air

conditioning installed in the Wallace Pack Unit was effective at reducing the effects of the heat on

him and his fellow inmates, unlike TDCJ’s heat mitigation measures.441 Wallace Pack Unit is air-

conditioned today.442

          2. Air conditioning the entire TDCJ system is feasible—but takes time and resources.

           TDCJ’s Facilities Director Hudson testified that air conditioning is currently the Facilities

Division’s number one priority.443 TDCJ agrees that installing temporary air conditioning is

technically feasible, and if ordered by the Court to install air conditioning, it would do so.444 Collier



                                             –19.
435 Final Hearing Tr. (July 31, 2024) at 255:3

                                              –256:8.
436 Final Hearing Tr. (July 31, 2024) at 255:20
437 Final Hearing Tr. (Aug. 2, 2024) at 31:16–19.
438 Cole v. Collier, No. 4:14-CV-1698, 2017 WL 3049540, at *46 (S.D. Tex. July 19, 2017).
439
    Final Hearing Tr. (Aug. 2, 2024) at 261:12–19.
                                              –17.
440 Final Hearing Tr. (July 30, 2024) at 187:13
441 Id. at 187:24–188:5.
442
      Final Hearing Tr. (Aug. 1, 2024) at 15:5 –7.
443 Final Hearing Tr. (Aug. 2, 2024) at 74:14   –16.
444 Dkt. 155, TDCJ 30(b)(6) Dep. at 42:16      –43:4, 120:3–10.

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also acknowledged that it is feasible to install temporary or permanent air conditioning in every

TDCJ facility.445 Hudson, TDCJ’s current Director of the Facilities Division, likewise, agreed that

temporary and permanent air conditioning “can be installed i[n] every TDCJ facility.”446

         TDCJ’s Facilities Division’s engineering department employs a lead engineer, two deputy

engineers, seven additional engineers, and two architects internally; they also contract with 18

outside engineering firms to manage roughly 350 projects in design or in construction.447 Four of

the 18 outside engineering firms are contracted to work on the air- conditioning projects to

design the HVAC system as well as the backup generators and ensuring the units have enough

electrical power.448 TDCJ has a variety of facility designs, and each unit design requires its own air

conditioning plan, which can take a year.449 Installing air conditioning is an especially intensive

process in older units, which need to be retrofitted; the newest TDCJ unit was built in 1997,450

the oldest unit was built in the mid-1800s, and some units were built in the early 1900s.451 For

example, some TDCJ facilities have open windows that never shut and span entire walls; these

windows must be changed before air conditioning can be installed.452 TDCJ estimates that it will

need to purchase 65,000 tons of air conditioning equipment to air condition the whole system.453

Further, some of the water chillers needed are estimated to take more than a year or two years to

arrive after being ordered.454



445 Final Hearing Tr. (Aug. 2, 2024) at 258:13 –16.
446 Id. at 137:5  –11.
                                           –15.
447 Final Hearing Tr. (Aug. 2, 2024) at 75:3
448 Id. at 76:4–11.
449 Id. at 97:4–11; 106:10–24; Def.’s Ex. 78; Def.’s Ex. 79.
450 Id. at 80:21–22.
451 Id. at 93:7–25.
452 Id. at 89:4–9.
453 Id. at 154:14–17.
454 Id. at 154:18–155:11.


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         Collier also presented credible evidence that any funds and time dedicated to installing

temporary air conditioning will impair the time and money allocated to installing permanent air

conditioning. TDCJ estimates that the cost to install temporary air conditioning equipment and

fuel for generators for the seven summer months would be $700-800 million; the fuel would cost

$600 million each year.455 TDCJ has twice been required to install temporary air conditioning and

has done so. Malouff, who was in the Wallace Pack Unit when TDCJ installed temporary air

conditioning in response to Judge Ellison’s order in the Cole case, offered unrebutted testimony

that it took TDCJ 60 to 90 days to install it.456 Since, over $1 million has been spent on upgrades

to the Pack Unit HVAC system that were necessary because of the quick installation.457

         TDCJ also installed temporary air conditioning at three units in response to Governor

Abbott’s statewide order for undocumented immigrants to be arrested on state criminal charges

and incarcerated in TDCJ facilities—which was called “Operation Lone Star.”458 Because these

individuals had not been convicted, TDCJ had to comply with the Texas Board of Jail Standards—

which, among other things, require that indoor temperatures be between 65° and 85°.459 To comply

with Governor Abbott’s order, TDCJ installed temporary air conditioning in the Briscoe, Segovia,

and Lopez Units,460 within approximately three to four months—i.e., from May 2021 to August

or September 2021.461 Those units have all had temporary air conditioning since then.462 TDCJ

did not have to go through a design phase to comply with Governor Abbott’s order for



               –92:3; 86:22–87:14; 90:9–91:6.
455 Id. at 91:22
456 Final Hearing Tr. (July 30, 2024) at 187:18  –23.
457 Final Hearing Tr. (August 2, 2024) at 76:13-17.
458 Final Hearing Tr. (Aug. 2, 2024) at 126:20  –127:10.
                                          –260:4 (Collier).
459 Id. at 127:14-21 (Hudson); id. at 259:8
460 Id. at 127:22–128:4.
461 Id. at 128:5–13.
462 Id. at 84:6–12, 128:15–130:15.


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Operation Lone Star.463 The Texas Department of Emergency Management and the Legislature’s

Operation Lone Star Funding funded the temporary air conditioning for these units.464

                      3. TDCJ’s current plan to install air conditioning is inadequate.

          It is Collier’s goal to air condition the entire TDCJ system.465 Collier’s team presented

evidence regarding the amount of funding TDCJ has requested and received from the Texas

Legislature in recent years, and how much funding TDCJ has spent on air conditioning. In the

2020–2021 fiscal year, TDCJ spent $13.4 million on air conditioning 3,407 beds.466 In the 2022–2023

fiscal year, TDCJ spent $15.5 million on air conditioning.467 In the 2024-2025 fiscal year, the 88th

Legislature ear-marked $85.7 million dollars for TDCJ to spend on air conditioning, the first time

the Legislature had done so,468 which occurred after Collier presented a four-phase plan to the

Legislature in 2022.469 However, the Legislature did not appropriate enough funds to TDCJ to enact

the plan, which called for $225 million for the first phase alone.470 Collier plans to request far more

than $85 million for air conditioning in the next legislative session.471

          As of the final day of the hearing, TDCJ had not solicited bids for installing permanent air

conditioning throughout the system.472 According to the Texas Comptroller of Public Accounts’

2024-2025 Certification Revenue Estimate, Texas has an estimated $18.29 billion surplus for this




463 Id. at 156:15  –18.
464 Final Hearing Tr. (August 2, 2024) at 267:19–25; 268:1–8.
465 Id. at 17; 5-9.
466 Id. at 115:1–7.
467 Id. at 115:8–16.
468 Id. at 116:12–23.
469 Id. at 152:23–153:6.
470 Id. at 179:14–180:4.
471 Id. at 185:5–9.
472 Id. at 124:24–125:1.


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upcoming legislative session.473 And, although TDCJ has a multi-billion-dollar budget,474 it has

allocated only $115.5 million to installing air conditioning in TDCJ units since 2018.475

        Approximately 96,500 of TDCJ’s 142,240 beds remain unair-conditioned.476 When asked

about Defendant’s Exhibit 79, Hudson could not provide a month and year by which air

conditioning will be installed in any of the facilities highlighted in yellow (air conditioning in

design/construction 2024–2025) or gray (air conditioning investigatory for design in 2026–2027) or

not highlighted at all (no plans)—a total of 62 facilities.477 Hudson and Baldwin testified that, at

TDCJ’s average rate of installing air-conditioned beds since 2018 (1,376 beds per year), it would

take 70 years— i.e., until 2094—to install air conditioning throughout TDCJ.478 Hudson also

acknowledged that, even at a rate of 3,100 new air-conditioned beds per year (which is the rate

TDCJ averaged in 2023 and 2024), it would take TDCJ 30 years—i.e., until 2054—to install

permanent air conditioning throughout the system.479

                            4. Other Prisons Air Condition Their Systems.

        Since 1994, state-wide regulations adopted by the Texas Commission on Jail Standards have

required all jails in Texas to maintain indoor temperatures between 65° and 85°.480 Other




473 2024-2025     Certification Revenue Estimate, Texas Comptroller of Public Accounts,
https://comptroller.texas.gov/transparency/reports/certification-revenue-estimate/2024- 25/docs/cre-2024-
25.pdf. Under Rule 201 of the Federal Rules of Evidence, that Court may take judicial notice of a fact that is
not subject to reasonable dispute because it can be accurately and readily determined from sources whose
accuracy cannot reasonably be questioned. The Court finds that the Texas surplus as estimated by the Texas
Comptroller of Public Accounts is such a fact, and that the Texas Comptroller of Public Accounts is a source
whose accuracy cannot reasonably be questioned.
474 Pls.’ Hearing Ex. 266 at 35–39.
475 Def.’s Ex. 17.
476 Pls.’ Hearing Ex. 204, Collier’s Resp. to Interr. 2.
477 Final Hearing Tr. (Aug. 2, 2024) at 151:4–21; Def.’s Hearing Ex. 79.
478 Id. at 34:1-17 (Baldwin); id. at 141:6–142:2 (Hudson); Pls.’ Hearing Exs. 150, 204.
479 Final Hearing Tr. (Aug. 2, 2024) at 147:12-148:7; Def.’s Hearing Ex. 17.
480 37 Tex. Admin. Code §§ 259.160, 260.154, 261.255.


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government buildings in Texas must maintain “comfortable” levels (e.g., between 68° and 78°).481

North Carolina’s administrative code for its jail system requires “heating, ventilation, and air

conditioning systems that are capable of maintaining temperatures in confinement units at not less

than 68 degrees Fahrenheit during the heating season and not more than 85 degrees Fahrenheit

during the cooling season.”482 Tennessee requires that local correctional facilities “have a

temperature of not less than sixty-five (65) degrees Fahrenheit and not more than eighty (80) degrees

Fahrenheit.”483 And, while there are no temperature requirements under federal law, the Bureau of

Prisons operations manual says that target temperatures should be 76° in the summer and 68° in the

winter, with the caveat that facilities may be a few degrees higher or lower.484 TDCJ has nevertheless

refused to implement the same (or similar) standards.

                                    IV. CONCLUSIONS OF LAW

           To obtain a preliminary injunction, the party must show (1) a likelihood of success on the

merits, (2) irreparable harm, (3) that the balance of equities tips in its favor, and (4) that an

injunction is in the public interest. Winter v. Nat. Res. Def. Council, Inc., 555 U.S. at 20. The Court

finds that Plaintiffs have clearly met their burden on the first two factors but not on the other two

factors.

                                A. Likelihood of Success on the Merits




481 See 25 Tex. Admin. Code § 297.8 (a)(1) (providing that “room temperature for a typical occupied office or

classroom environment should be kept between 72 to 76 degrees Fahrenheit in the summer and 70 to 75
degrees in Fahrenheit in the winter and controlled within a temperature range of ±2 degrees in Fahrenheit for
a given day”).
482 Dkt. 50-1, D. Williams Decl. (Apr. 11, 2024) ¶ 19.
483 Id. ¶ 20.
484 Id. ¶ 16.


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         At the outset, Collier argues Plaintiffs cannot be likely to succeed on the merits for two

reasons: (1) the organizational Plaintiffs lack standing, and (2) Plaintiffs have not exhausted their

remedies as required under the PLRA. The Court disagrees.

               1. The organizational Plaintiffs have established associational standing.

         The Court has already determined that Plaintiffs have standing, and that the Organizational

Plaintiffs “meet the requirements of associational standing.” (Order, Dkt. 95 at 6–10 (denying

Collier’s Rule 12(b)(1) motion to dismiss)). With respect to associational standing, the Court

specifically determined that “at least one of the Organizational Plaintiffs, Lioness, is a traditional

membership organization with hundreds of members who are TDCJ prisoners,” and that “the

Organizational Plaintiffs’ members are not required to participate in this lawsuit individually.” Id.

at 8, 10.

         While the Court does not need to revisit these determinations,485 the evidence at the

hearing further confirms that Lioness is a traditional “voluntary membership organization with

identifiable members.”486 SFFA III, 600 U.S. at 201. The evidence shows that Lioness has

hundreds of members who have joined voluntarily, support the organization’s mission, and are

current TDCJ prisoners assigned to unair-conditioned units.487 Moreover, Lioness’s members

would have standing to sue in their own right—members housed in unair-conditioned units in

particular face a “substantial risk of serious harm and death” from the extreme heat, that injury is

traceable to Collier’s deliberate indifference and refusal to take the necessary steps to protect


485 See, e.g., Students for Fair Admissions, Inc. v. President & Fellows of Harvard Coll. (“SFFA II”), 397 F. Supp. 3d

126, 184 (D. Mass. 2019) (relying on earlier associational standing analysis when denying Rule 12(b)(1) as part
of the court’s post-trial conclusions of law) (citing Students for Fair Admissions, Inc. v. President & Fellows of
Harvard Coll. (“SFFA I”), 261 F. Supp. 3d 99, 110–11 (D. Mass. 2017)) (cited with approval in Students for Fair
Admissions, Inc. v. President & Fellows of Harvard Coll. (“SFFA III”), 600 U.S. 181, 199 (2023)).
486 See Findings of Fact, Section A.1, supra.
487 See Findings of Fact, Section A.1, supra.


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members from the extreme summer heat, and the injunctive relief sought will redress their

injuries. See Crawford v. Hinds Cty. Bd. of Supervisors, 1 F.4th 371, 375 (5th Cir. 2021) (listing

elements for Article III standing). Under SFFA III, that is all the evidence that is required to

support associational standing. 600 U.S. at 201; see also VanDerStok v. Garland, 680 F. Supp. 3d

741, 762 (N.D. Tex. 2023) (relying on affidavits from organizations’ leadership describing

membership to find that they are traditional membership organizations), vacated in part on other

grounds, 86 F.4th 179 (5th Cir. 2023); Nat’l Rifle Ass’n of Am., Inc. v. ATF, No. 3:23-CV-1471-L,

2024 WL 1349307, at *6 (N.D. Tex. Mar. 29, 2024) (same). “Where, as here, an organization has

identified members and represents them in good faith, [the Supreme Court’s decisions] do not

require further scrutiny into how the organization operates.” SFFA III, 600 U.S. at 201. In short,

Lioness is a traditional voluntary membership organization that has standing to sue on behalf of

its members.

        The evidence shows that the remaining Organizational Plaintiffs also meet the

requirements for associational standing, as they have constituents housed in unair-conditioned

units who “were effectively members” of the organization. Id. at 199–200 (discussing Hunt v.

Washington State Apple Advertising Comm’n, 432 U.S. 333, 336–44 (1977)). The Court finds that

CTD, TCPA, and TX C.U.R.E. each have standing to assert claims on behalf of their

constituents, which includes TDCJ prisoners housed in unair-conditioned units, because those

prisoners possess sufficient “indicia of membership” in their respective organizations.488 Hunt,



488 As Lioness is a traditional membership organization, the “indicia of membership” analysis does not need to

be addressed. See SFFA III, 600 U.S. at 201; La Unión Del Pueblo Entero v. Abbott, 614 F. Supp. 3d 509, 526
(W.D. Tex. 2022). However, even if Lioness were subject to the “indicia of membership” test for associational
standing, it would satisfy the criteria. See, e.g., AARP v. United States Equal Employment Opportunity Comm’n, 226
F. Supp. 3d 7, 17 (D.D.C. 2016) (finding that the Court need not address whether AARP was a “traditional
membership organization” where it otherwise “satisfies the ‘indicia of membership’ criteria”).

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432 U.S. at 344-45.

         Hunt’s “indicia of membership” test ensures that an organization “represent[s] the

individuals it claims as members” and “provide[s] the means by which those individuals express

their collective views and protect their collective interest.” Funeral Consumers All., Inc. v. Serv. Corp.

Int’l, 695 F.3d 330, 344 n.9 (5th Cir. 2012). The test is satisfied when a group serves a “specialized

segment” of the community that is “the primary beneficiary of its activities.” Hunt, 432 U.S. at

344; see also Oregon Advoc. Ctr. v. Mink, 322 F.3d 1101, 1111 (9th Cir. 2003) (finding associational

standing where constituents—incapacitated criminal defendants—comprised a “specialized

segment” of the community that was the primary beneficiary of the group’s activities); AARP, 226

F. Supp. 3d at 17 (finding associational standing where an organization with a “defined mission”

serves a “discrete, stable membership with a definable set of common interests”).

         CTD, TCPA, and TX C.U.R.E. each have a “defined mission” and serve a “discrete”

segment with a “definable set of common interests” in this action.489 AARP, 226 F. Supp. 3d at 17;

see also Am. Leg. Found. v. F.C.C., 808 F.2d 84, 90 (D.C. Cir. 1987). Specifically, TPCA and TX

C.U.R.E. serve incarcerated Texans and their families, and CTD serves incarcerated Texans with

disabilities.490 The three organizations’ constituents also play a role in “guiding [the

organization’s] activities” and can “participate directly in making and implementing day-to-day

decisions.”491 TX C.U.R.E. engages in directly with its constituents, including specific individuals

who “have suffered from exposure to excessive heat” in unair-conditioned TDCJ units.492 TPCA

similarly engages regularly with its incarcerated constituents and has “team members” inside TDCJ



489 See Findings of Fact, Sections I.B. through I.D., supra.
490 See Findings of Fact, Sections A.2 through A.4, supra.
491 See Findings of Fact, Sections A.2 through A.4, supra.
492 See Findings of Fact, Section A.2, supra.


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prisons work directly with the organization.493 Thus, each of these organizations “is sufficiently

identified with and subject to the influence of those it seeks to represent as to have a personal stake

in the outcome of the controversy.” Mink, 322 F.3d at 1111 (quotations omitted). Under Hunt’s

“indicia of membership” test, CTD, TCPA, and TX C.U.R.E. also have associational standing to

represent the interests of their constituents. Therefore, lack of standing does not bar Plaintiffs’

likelihood of success on the merits.

 2. The Prison Litigation Reform Act’s (“PLRA”) Exhaustion Requirement Does Not Apply to
                                  the Organizational Plaintiffs.

         Nor are the Organizational Plaintiffs required to exhaust under the Prison Litigation

Reform Act (the “PLRA”). The Organizational Plaintiffs are not persons capable of being

incarcerated or detained, so they are not “prisoners” as the term is defined by the PLRA. 42 U.S.C.

§§ 1997e(a), (h); see also Alabama Disabilities Advoc. Pgm. v. Wood, 584 F. Supp. 2d 1314, 1316 (M.D.

Ala. 2008); Dunn v. Dunn, 219 F. Supp. 3d 1163, 1176 (M.D. Ala. 2016). The PLRA’s exhaustion

requirement thus does not apply to the Organizational Plaintiffs. This holding is consistent with

those of other courts that have found that those who sue as representatives of prisoners are not

“prisoners” under the PLRA and thus are not bound by the exhaustion requirements of the PLRA.

See, e.g., Tretter v. Pennsylvania Dept. of Corrections, 558 F. App’x 115, 157 (3rd Cir. 2014) (unpublished)

(representative of deceased inmate and administratrix of his estate was not a “prisoner” required

to exhaust administrative remedies); Rivera-Rodriguez v. Pereira-Castillo, No. 04-1389(HL), 2005 WL

290160, *6 (D.P.R. Jan. 31, 2005) (finding that the plain language of the PLRA excludes family

members and guardians of incarcerated minors); see also Wormley v. United States, 601 F. Supp. 2d

27, 46 (D.D.C. 2009) (finding PLRA applies only to a “prisoner” and does not require exhaustion



493 See Findings of Fact, Section A.3, supra.


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by non-prisoners, even for claims related to their earlier detentions). Therefore, the

Organizational Plaintiffs’ likelihood of success on the merits is not barred by exhaustion

requirements under the PLRA.

        3. Plaintiffs are likely to succeed on the merits of their Eight Amendment claims.

        The Court now turns to the merits of Plaintiffs’ claims. The Eighth Amendment to the

United States Constitution prohibits “cruel and unusual punishment.” U.S. Const. amend. XII. The

Constitution “does not mandate comfortable prisons.” Blackmon v. Garza, 484 F. App’x 866, 868–69

(5th Cir. 2012) (quoting Rhodes v. Chapman, 452 U.S. 337, 349, (1981)); (see also Resp. 12(b)(6) Mot.,

Dkt. 88, at 1 (“This case is not and has never been about being comfortable.”)). However, “prison

officials must provide humane conditions of confinement; prison officials must ensure that inmates

receive adequate food, clothing, shelter, and medical care, and must take reasonable measures to

guarantee the safety of the inmates.” Blackmon, 484 F. App’x at 868–69 (quoting Farmer v. Brennan,

511 U.S. 825, 832 (1994), & Hudson v. Palmer, 468 U.S. 517, 526–27 (1984)) (internal quotations

omitted). What is cruel or unusual is not set in stone, but rather, is based on what is “socially

acceptable,” Ball I, 792 F.3d at 599, or what is consistent with “[a] sufficient national consensus,”

Roper v. Simmons, 543 U.S. 551, 562 (2005). In other words, the extreme deprivation of any “minimal

civilized measure of life’s necessities” violates the Eighth Amendment. Davis v. Scott, 157 F.3d 1003,

1006 (5th Cir. 1998) (citation omitted).

        “It is well-established in [the Fifth Circuit] ‘that the Eighth Amendment guarantees inmates a

right to be free from exposure to extremely dangerous temperatures without adequate remedial

measures.’” Yates v. Collier, 868 F.3d 354, 359 (5th Cir. 2017) (quoting Hinojosa v. Livingston, 807 F.3d

657, 669 (5th Cir. 2015)). Indeed, the Fifth Circuit has “repeatedly recognized the serious risk of

harm that excessive heat can pose in the prison context absent adequate mitigating measures, and [it


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has] consistently found evidence sufficient in these cases to support an Eighth Amendment

violation, even when certain mitigating measures were available.” Id. at 361. The Fifth Circuit has

recognized this risk for at least the last twenty years. See Gates v. Cook, 376 F.3d 323, 340 (5th Cir.

2004).

         In Gates, the Fifth Circuit held that inmates in the Mississippi Department of Corrections

(the “MDOC”) faced a substantial risk of serious harm based on the MDOC’s failure to “provide

fans, ice water, and daily showers when the heat index is 90 degrees or above.” Gates, 376 F.3d at

334, 339–40. In Ball I, the Fifth Circuit affirmed the district court’s finding that the heat within a

prison housing area posed a substantial risk of serious harm to inmates, where the heat index ranged

from 81.5° to 107.79° and surpassed 100° on five or more days during a roughly two-week period.

792 F.3d at 590–94. The Fifth Circuit did so even though those inmates had continued access to

potable water and ice. Id. at 590, 592. And in Cole, the district court found that extremely hot

conditions at TDCJ facilities (a heat advisory warned that the heat index could reach “near or above

108” degrees) constituted a substantial risk of serious harm sufficient to satisfy the Eighth

Amendment’s objective test. 2017 WL 3049540, at *39 (Ellison, J.). In the two decades since Gates,

the Fifth Circuit has repeatedly acknowledged the serious risk of harm that excessive heat poses in

the prison context. See Yates, 868 F.3d at 359; see also Hinojosa, 807 F.3d at 669.

         Here, to establish an Eighth Amendment violation, Plaintiffs must show (1) the heat poses

an unreasonable risk of serious harm, and (2) Collier acted with deliberate indifference to the risk

posed. See e.g., Hinojosa, 807 F.3d at 665.

     a. The Organizational Plaintiffs Are Likely to Show Heat Exposes their Constituents to
                              Unreasonable Risk of Serious Harm

         The Organizational Plaintiffs have shown that extreme heat in TDCJ’s uncooled prisons

constitutes a well-established substantial risk of serious harm that constitutes cruel and unusual

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punishment. Approximately 96,500 of TDCJ’s 142,240 beds remain unair-conditioned.494 In the last

two summers, TDCJ logs have shown outdoor heat indexes as high as 134°, and indoor

temperatures above 85° nearly every day from May 1, 2023 to September 30, 2023.495 This evidence

is consistent with testimony from current and former prisoners, who have observed temperature

readings in their units exceeding 110° and 130°.496 TDCJ agrees that outdoor temperatures at every

Texas prison are expected to exceed 85° each summer, and that the temperatures prisoners are

exposed to inside unair-conditioned prisons are so high and dangerous that adequate mitigation

measures are required.497 The heat will only get worse with climate change. As Dr. Mearns explains,

increasing extreme temperatures and more frequent heat waves are likely to continue, which will

result in an increasing heat index, and number of hours per day with extreme heat index values.”498

Collier has offered no evidence to the contrary and, in fact, acknowledged that summers are hot in

Texas, have been hot for years, and are likely to continue to be hot.499

         It is undisputed that heat “is one of the leading weather-related killers in the United States,

resulting in hundreds of fatalities each year.”500 As set forth above, a heat index of 88° or higher

poses a substantial risk of adverse health outcomes for everyone—even young, healthy people.501

Those risks include heat exhaustion, heat rash, dehydration, heat cramps, heat syncope, and heat

stroke—the last of which carries a “high mortality rate” and can have lasting negative health




494 See Findings of Fact, Section F.3, supra.
495 See Findings of Fact, Section C.1, supra.
496 See Findings of Fact, Section C.1, supra.
497 See Findings of Fact, Section C.1, supra.
498 See Findings of Fact, Section C.1, supra.
499 See Findings of Fact, Section C.1, supra.
500 See Findings of Fact, Section C.1, supra.
501 See Findings of Fact, Section C.1, supra.


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consequences for those people who do not die.502 High heat also exacerbates mental illness.503

People with mental health disorders exhibit higher rates of suicidality, agitation, impulsivity, and

slowing of cognitive processing when exposed to high heat, and mental health episodes requiring

hospitalization increase under these conditions.504 These risks were uncontested by Collier. Indeed,

TDCJ’s own training documents acknowledge that “[i]ncreased body temperatures, if left

uncontrolled, may lead to delirium, convulsions, seizures, and possibly even death.”505 Collier

acknowledged through his 30(b)(6) deponent that extreme heat is a dangerous condition in the

TDCJ system that “has killed inmates, and [has] caused numerous inmates and officers to suffer

heat-related illnesses.”506 And Collier’s own internal medicine expert, Dr. Leonardson, agreed that

people exposed to severe environmental heat between 90° to 105° Fahrenheit are at serious risk of

illness and death.507

         Plaintiffs need not prove “that death or serious injury has already occurred” to satisfy the

Eighth Amendment’s objective standard. Ball I, 792 F.3d at 593 (citation omitted). Instead, they

need only show “a substantial risk of serious harm” from the extreme heat. Id. at 594. Even so,

Plaintiffs’ experts Dr. Skarha and Dr. Zanobetti established that nearly three hundred deaths were

attributable to extreme heat in Texas prisons without air conditioning between 2001 to 2019, or an

average of 14 deaths per year.508 Dr. Skarha and Dr. Zanobetti concluded that a one-degree

temperature increase above 85° corresponds to a 0.7% increase in the risk of mortality.509



502 See Findings of Fact, Section C.1, supra.
503 See Findings of Fact, Section C.1, supra.
504 See Findings of Fact, Section C.1, supra.
505 See Findings of Fact, Section C.1, supra.
506 See Findings of Fact, Section C.1, supra.
507 See Findings of Fact, Section C.1, supra.
508 See Findings of Fact, Section D.2, supra.
509 See Findings of Fact, Section D.2, supra.


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         Neither heat-related deaths nor heat-related illnesses have abated since 2019. TDCJ admitted

to three heat-related deaths of inmates just last summer alone.510 That number is almost certainly an

undercount, given Plaintiffs’ unrebutted evidence of two additional heat-related deaths (neither of

which were classified as such by TDCJ), and TDCJ’s failure to timely perform autopsies, failure to

consistently take core body temperatures, and refusal to classify a death as “heat-related” unless heat

was the sole cause of the inmate’s death.511 Plaintiffs, likewise, presented unrebutted testimony from

Dr. Zanobetti and Dr. Skarha that inmates in unair-conditioned Texas prisons will continue to die

from the heat unless these facilities are air conditioned.512

         The heat also continues to cause inmates and staff to suffer heat-related illnesses. TDCJ’s

public reports to the Texas Legislature acknowledged that 17 TDCJ inmates suffered heat-related

illnesses in 2023, though Plaintiffs’ evidence shows this, too, is likely an undercount, with TDCJ’s

medical services provider, UTMB, reporting 35 prisoners with heat-related injuries in just June 2023

alone.513 And according to TDCJ’s training documents, heat-related illness is the fifth-leading cause

of serious injuries among TDCJ employees.514 TDCJ also reported 35 heat-related illnesses of staff

to the Texas Legislature in 2023, and Plaintiffs presented evidence of nearly 80 heat-related workers’

compensation claims filed by corrections staff in 2022 and 2023.515

         Notably, these deaths and heat-related illnesses and injuries occurred during a summer when,

as Collier’s witnesses testified and TDCJ documents indicate, the prisons were implementing all of

TDCJ’s heat mitigation measures, including their heat score system, access to cooled respite areas,



510 See Findings of Fact, Section D.3, supra.
511 See Findings of Fact, Section D.4-D.6, supra.
512 See Findings of Fact, Section D.2, supra.
513 See Findings of Fact, Section D.6, supra.
514 See Findings of Fact, Section D.8, supra.
515 See Findings of Fact, Section D.8, supra.


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distribution of water and ice, cool showers, and fans.516 TDCJ’s mitigation measures are ineffective

because of the temporary nature of the relief.517 And in some instances, such as using fans when the

temperature reaches a certain threshold, the mitigation measures actually increase the risk of heat-

related illness, injury, or death.518 And even if the mitigation measures were effective, inmates have

severely limited access to these resources due to understaffing.519 Based on this evidence, Plaintiffs

have shown that every TDCJ inmate in an unair-conditioned cell faces a substantial risk of death or

serious bodily injury from the extreme heat, absent the installation of air conditioning.

        b. Tiede is Likely to Show the Heat Exposes Him to Unreasonable Risk of Serious Harm

         The Court has already determined that Tiede is “substantially likely to prove an Eighth

Amendment violation because of his enhanced sensitivity to extreme heat due to his medical

conditions,” (Order, Dkt. 17 at 4), and finds this remains true. While TDCJ currently houses Tiede

in an air-conditioned cell, TDCJ moved him there after the Court entered a temporary restraining

order compelling the TDCJ to do so. As for his continued placement in an air-conditioned cell, the

Court has also determined that “this voluntary cessation does not moot his request for relief, as it is

not ‘absolutely clear that the allegedly wrongful behavior could not reasonably be expected to

recur.’” (Order, Dkt. 95 at 7 (quoting Sossamon v. Texas, 560 F.3d 316, 325 (5th Cir. 2009) (cleaned

up), aff’d, 563 U.S. 277 (2011))). Despite his undisputed heat-sensitive co-morbidities, Tiede has not

been assigned a heat score that would require TDCJ to place him in an air-conditioned cell pursuant

to its heat score policy.520 Further, every TDCJ witness who testified at the hearing, including Collier,




516 See Findings of Fact, Section E, supra.
517 See Findings of Fact, Section E.1, supra.
518 See Findings of Fact, Section E.4, supra.
519 See Findings of Fact, Section E.1, supra.
520 See Findings of Fact, Section B, supra.


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would not commit to keeping Tiede in an air-conditioned cell.521 Thus, Tiede is at risk of being

moved into unair-conditioned housing at any time and therefore being subjected to the dangers of

extreme heat detailed above.

         The evidence from the hearing also shows that placing Tiede in unair-conditioned housing

would be detrimental to his health and put him at a substantial risk of serious harm, including

death.522 Tiede’s condition has only worsened since the Court entered its temporary restraining

order, as he was diagnosed with a new “acute or subacute” stroke in his thalamus in April 2024.523

Tiede, 66 years old, also suffers from COPD, diabetes, hypertension, and bleeding on his right

retina.524 He testified that his health improves when he’s housed in air conditioning and would

decline if placed back in extreme heat.525 Dr. Vassallo offered unrebutted testimony that Tiede is

particularly vulnerable to heat, and that placing Tiede in unair-conditioned housing would put him at

a substantial risk of death or serious harm.526And again, the evidence at the hearing established that

TDCJ’s heat mitigation measures are insufficient to protect inmates like Tiede from a substantial risk

of death or serious harm.527

         In sum, TDCJ refuses to guarantee Tiede will remain in an air-conditioned unit, has failed to

assign him a heat score that would require such a guarantee, and would provide only woefully

inadequate mitigation measures if he is removed from the air conditioning. Accordingly, TDCJ fails

to take reasonable measures to guarantee the safety of Tiede, as required by the Eight Amendment.

       c. Plaintiffs are substantially likely to show that Collier acted with deliberate indifference.


521 See Findings of Fact, Section B, supra.
522 See Findings of Fact, Section B, supra.
523 See Findings of Fact, Section B, supra.
524 See Findings of Fact, Section B, supra.
525 See Findings of Fact, Section B, supra.
526 See Findings of Fact, Section B, supra.
527 See Findings of Fact, Section E, supra.


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         To satisfy the Eighth Amendment’s subjective standard, Plaintiffs must show that it is

substantially likely that Collier “knows that inmates face a substantial risk of serious harm and

disregards that risk by failing to take reasonable measures to abate it.” Farmer v. Brennan, 511 U.S.

825, 847 (1994). This knowledge can be inferred “from circumstantial evidence,” and the Court

“may conclude that [Collier] knew of a substantial risk of serious harm from the very fact that the

risk was obvious.” Gates, 376 F.3d at 333, 340 (affirming finding of deliberate indifference “based on

the open and obvious nature of these conditions and the evidence that inmates had complained of

symptoms of heat-related illness”); see also Ball I, 792 F.3d at 595 (affirming finding of deliberate

indifference based “on the totality of the record evidence” showing prison official’s subjective

knowledge). This knowledge may also be shown by evidence that the risk is “longstanding,

pervasive, well-documented, or expressly noted by prison officials in the past,” and “the

circumstances suggest that [Collier]” was exposed to that information. Farmer, 511 U.S. at 842–43.

These standards are met here.

         Plaintiffs have shown it likely that Collier knows inmates face serious harm from the

extreme heat in Texas’s unair-conditioned prisons, and that the risk of harm is obvious, well-

documented, longstanding, and pervasive, and has been expressly noted by TDCJ officials in the

past.

         First, Collier admitted during the hearing that he was aware of the several heat-related

deaths, multiple heat-related illnesses of inmates, dozens of workers’ compensation claims, dozens

of staff-related illnesses, and thousands of heat-related grievances from inmates in the last two

summers alone.528 And Collier knows that this is not a new phenomenon. Indeed, he testified

under oath in the Cole case during the summer of 2019 that he believed that inmates confined in


528 See Findings of Fact, Section E, supra.


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temperatures of 95° were at a serious health risk.529 Collier’s Rule 30(b)(6) deponent also

acknowledged that the temperatures TDCJ inmates are exposed to during the summer months

are so high and potentially dangerous that they are at a very real risk of harm and serious injury

unless adequate measures are taken to protect them.530 And the deponent admitted that extreme

heat is a dangerous condition in the system that “has killed inmates, and [has] caused numerous

inmates and officers to suffer heat-related illnesses.”531 Thus, Collier is personally aware of the

substantial risk of harm faced by TDCJ inmates in unair-conditioned prisons, despite TDCJ’s

heat mitigation measures.

        Second, Collier is well aware of the substantial risk of harm from extreme heat, given the

numerous lawsuits that have been filed against him, his predecessors, and TDCJ itself over the

last twenty-five years for deaths and serious illnesses caused by extreme heat. TDCJ has

previously acknowledged heat-related deaths dating back to 1998. As Judge Ellison found in a

case arising out of the death of TDCJ prisoner Larry McCollum:

                 It is undisputed that five men died in 1998 from environmentally-
                 caused hyperthermia while incarcerated in TDCJ facilities. Between
                 1999 and 2010, five more individuals are known to have died from
                 hyperthermia or other heat-related illnesses while incarcerated in
                 Texas prisons. In 2011, Texas experienced an “unprecedented”
                 heat wave, and ten more individuals died from hyperthermia.
                 McCollum was the second individual to die of heat-related illness
                 during the summer of 2011.

McCollum v. Livingston, No. 4:14-CV-3253, 2017 WL 608665, at *1 (S.D. Tex. Feb. 3, 2017). As the

Fifth Circuit has recognized, “TDCJ officials are, or have been, defendants in numerous other



529 See Findings of Fact, Section D.1, supra. In that case, Judge Ellison found that Collier was aware that a risk

of serious harm existed as a result of the extreme temperatures in the Wallace Pack Unit and, alternatively,
that the risk of harm was obvious. See Cole, 2017 WL 3049540, *40.
530 See Findings of Fact, Section D.1, supra.
531 See Findings of Fact, Section D.1, supra.


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cases alleging Eighth Amendment violations based on excessive heat in prison.” Yates, 868 F.3d

at 360 (citing Hinojosa, 807 F.3d at 661 (deciding appeal involving TDCJ prisoner who suffered a

seizure at night due to high indoor temperatures, “[fell] out of his bed and was convulsing,” and

died twenty minutes later); Webb v. Livingston, 618 F. App’x 201, 204 (5th Cir. 2015) (deciding

appeal involving the “heat-related deaths of five prisoners who died while housed in facilities

operated by [TDCJ]”); Valigura v. Mendoza, 265 F. App’x 232, 233–34 (5th Cir. 2008) (deciding

appeal involving prisoner who alleged that “temperatures in the bunk area reached into the nineties

and hundreds due to poor ventilation” and that “he was not able to use the restroom or showers

without lengthy waits, which caused him severe discomfort”). Collier admitted that he was aware

of ten heat-related deaths in the summer of 2011 alone. Thus, these lawsuits not only placed

Collier on notice of the substantial risk of serious harm Texas inmates face from extreme heat, but

they also established the obviousness of that risk.

         Third, multiple studies were sent to Collier personally, warning him and TDCJ that heat-

related deaths had occurred in TDCJ prisons. For instance, the study published by Dr. Skarha and

Dr. Zanobetti in 2022 concluded that 271 deaths were attributable to extreme heat in Texas

prisons without air conditioning from 2001 to 2019—an average of 14 deaths per year.532 The

same study concluded that there was not a single heat-related death in TDCJ’s air-

conditioned prisons during this period.533 Likewise, Dr. Purdum’s study, published in 2022,

revealed that 29% of the TDCJ inmates surveyed said that they knew of at least one heat-related

death either in their own unit or at another unit.534 Dr. Purdum’s study also warned that

“increasing annual temperatures and the increase of days over 100 degrees in Texas will continue


532 See Findings of Fact, Section D.1, supra.
533 See Findings of Fact, Section D.1, supra.
534 See Findings of Fact, Section E, supra.


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to exacerbate the degradation of health for both incarcerated people and staff in the TDCJ

system.”535 Collier admitted during the hearing that he had received and reviewed both of these

studies.536

         Lastly, Collier is well aware of the substantial risk of serious harm from extreme heat

because of safe-temperature mandates in jails and federal prisons in Texas and in other state prison

systems across the country. Since 1994, state-wide regulations adopted by the Texas Commission

on Jail Standards have required all jails in Texas to maintain indoor temperatures between 65° and

85°.537 Notably, this range departs significantly upward from the temperatures required inside

other government buildings in Texas to maintain “comfortable” levels (e.g., between 68° and

78°).538 North Carolina, Tennessee, and the federal Bureau of Prisons have implemented similar

standards.539 TDCJ has nevertheless not done the same.

         The “mere presence of remedial measures” is not a defense to an Eighth Amendment

violation. Webb, 618 F. App’x at 209 n.7; see also Cole, 2017 WL 3049540, at *41 (rejecting Collier’s

argument TDCJ was not deliberately indifferent simply because TDCJ “implemented several

mitigating measures since the deaths in 2011 and 2012”). Prison officials cannot “insist[] upon a

course of action that has already proven futile.” Lewis v. Cain, No. CV 15-318-SDD-RLB, 2023

WL 7299130, at *47 (M.D. La. Nov. 6, 2023). Nor can they rely on mitigation measures that have

nothing more than a “negligible impact” on the danger posed to inmates from extreme heat.

Laube v. Haley, 234 F. Supp. 2d 1227, 1251 (M.D. Ala. 2002). They are instead required to

implement mitigation measures that “adequate[ly] . . . protect inmates from the extreme heat.”


535 See Findings of Fact, Section E, supra.
536 See Findings of Fact, Section E, supra.
537 See Findings of Fact, Section D.4, supra.
538 See Findings of Fact, Section D.4, supra.
539 See Findings of Fact, Section D.4, supra.


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Webb, 618 F. App’x at 209 n.7; see also Cole, 2017 WL 3049540, at *41 (“[T]he effectiveness of the

measures implemented by TDCJ is relevant to the Court’s analysis.”).

         Seven years ago, Judge Ellison held that many of the same mitigation measures Collier

relies on in his defense in the instant case—respite rooms, cold showers, access to water and ice,

and fans—“do not stop Plaintiffs from experiencing the symptoms of heat-related illnesses and

do not reduce the risk of serious injury or death to a socially acceptable level.” Cole, 2017 WL

3049540, at *40. Judge Ellison explained that those measures were “by and large ineffective at

reducing the heat stress placed on Plaintiffs’ bodies” and were nothing more than “the bare

minimum.” Id. at *40-42. By implementing such measures, Judge Ellison held, Collier “ignored

the risk of harm faced by the population [he] serve[s]” and was thus deliberately indifferent to the

substantial risk of serious harm that inmates in the Wallace Pack Unit faced from the extreme

heat. Id. at *42. The Texas House Corrections Committee reached the same conclusion the

following year: “Based on the medical information known about human health and heat-related

health risks, TDCJ cannot rely only on mitigation factors to assure the well-being of inmates and

corrections personnel.”540

         Despite Judge Ellison’s opinion, the Texas Legislature’s clear mandate, and the benefit of

seven years to adequately address the substantial risk of serious harm (including illness and death)

that extreme heat poses to inmates in unair-conditioned cells, Collier has failed to implement the

installation of air conditioning in TDCJ facilities. Instead, he largely relies on the same mitigation

measures that Judge Ellison found inadequate in the Cole case.

         Unsurprisingly, the uncontroverted evidence shows that those heat mitigation measures are

still inadequate, just as Judge Ellison found seven years ago. Even when available, respite is, by its


540 See Findings of Fact, Section E, supra.


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very nature, temporary, and it places the onus on inmates to recognize when they are developing

symptoms of a heat-related illness, even though such symptoms can be subtle and can include

cognitive impairments that render inmates unable to recognize that they need help.541 Cold

showers, even when available, have no statistically significant impact on heat-related mortality

and, at best, provide relief for only a few minutes.542 Fans are not only ineffective but actually

increase the risk of heat-related illness at heat indexes over 99°.543 Even unfettered access to ice and

water, which Plaintiffs’ evidence demonstrates not consistent in practice, is insufficient.544 The

Court notes again that TDCJ surveillance video captured Castillo visiting the water cooler 23 times

in the 24 hours before his heat-related death and that Womack was seen passing water bottles in

his cell in the hours before his death.545 And, as Professor Deitch testified, even if these measures

worked in theory, understaffing has had an “enormous impact” on TDCJ’s ability to implement

these heat mitigation measures.546

         Nor is TDCJ’s “heat score” system—which was implemented as a result of the settlement

agreement in the Cole case—an adequate manner of remedying the substantial risk of serious

harm faced by TDCJ inmates in unair-conditioned facilities. To begin with, although all TDCJ

inmates (even the young and healthy) face such a risk, only approximately 12,289 of the 134,500

individuals incarcerated in the TDCJ system (i.e., less than 10%) have a heat score.547 This is

reason enough to find the system inadequate. Nor does the system even accomplish its purported

goal of protecting especially vulnerable, heat-sensitive inmates. For instance, inmates do not


541 See Findings of Fact, Section E.1, supra.
542 See Findings of Fact, Section E.3, supra.
543 See Findings of Fact, Section E.4, supra.
544 See Findings of Fact, Section E.5, supra.
545 See Findings of Fact, Section D.3, supra.
546 See Findings of Fact, Section E.1, supra.
547 See Findings of Fact, Section E.1, supra.


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automatically receive a score for having a mental illness, taking one of the many medications that

impair thermoregulation, or being above the age of 65—all of which Plaintiffs’ experts identified

as making inmates more susceptible to heat.548 Indeed, many of the medical conditions and

medications that UTMB’s own policies identify as affecting heat tolerance are not incorporated

into the heat score algorithm it designed for TDCJ, either.549 If Tiede—who is 65 years old and

has been diagnosed with a stroke, diabetes, hypertension, pulmonary disease, and obesity—does

not have a heat score,550 then the system is arbitrary and ineffective at accomplishing even its

stated, already-underinclusive goal of protecting especially heat-sensitive inmates. Collier thus

cannot rely on the heat score system to avoid liability under the Eighth Amendment.

         Most troubling to the Court, however, is the fact that none of these measures

prevented (1) the several dozen deaths that Drs. Skarha and Dr. Zanobetti attributed to heat even

after heat mitigation measures were implemented, (2) the three heat-related deaths that Collier

admits occurred last summer, (3) the two additional heat-related deaths that Dr. Uribe and Dr.

Vassallo testified occurred last summer, or (4) the 35 heat-related illnesses of TDCJ inmates

identified by UTMB that occurred in 2022 and 2023—or the 17 heat-related illnesses that TDCJ

itself reported to the Legislature. In short, TDCJ’s mitigation measures have “not stop[ped]

[TDCJ inmates] from experiencing the symptoms of heat-related illnesses and [did] not reduce the

risk of serious injury or death to a socially-acceptable level.” Cole, 2017 WL 3049540, at *40.

         What Collier has not done “in the face of the substantial risk of harm is also relevant to

the Court’s analysis.” Id. at *42. Despite knowing of the risk extreme heat poses to all inmates and

the inadequacy of TDCJ’s mitigation measures, Collier has no concrete timeline for installing


548 See Findings of Fact, Section E.1, supra.
549 See Findings of Fact, Sections B and E.1, supra.
550 See Findings of Fact, Section D.3, supra.


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permanent or temporary air conditioning in TDCJ inmate living areas.551 TDCJ has not solicited

bids for installing either temporary or permanent air conditioning throughout TDCJ facilities.552

Although Collier has added 8,940 cool beds since 2018 (a number that includes the 1,436 ordered

as part of the Wallace Pack Unit settlement), this averages out to only 1,376 beds per year.553 At

that rate, it would take TDCJ approximately 70 years—i.e., until 2094—to install air conditioning

throughout the system.554 Even crediting the most favorable evidence introduced at the hearing to

Collier, at TDCJ’s more recent, higher rate of adding cool beds, it will take 25 to 30 years to add

air conditioning to all inmate living areas, assuming the Texas Legislature allocates funds to do

so.555 This slow timeline exposes over 95,000 inmates to the substantial risk of serious injury or

death from unair-conditioned prisons and, assuming normal rates of inmate turnover, would

continue to expose hundreds of thousands of inmates to the substantial risk of injury or death

from extreme heat over the next two to three decades. Collier, likewise, did not identify (let alone

present any evidence of) a less intrusive alternative to temperature control that would reduce the

risk of death and serious bodily injury to a “socially acceptable level.” Ball I, 792 F.3d at 599.

         In sum, the Court finds that, despite a significant risk of harm faced by inmates in unair-

conditioned TDCJ prisons, Collier has implemented mitigation measures he knows are

inadequate—and which the Court finds are scientifically inadequate—to reduce the substantial

risks of serious harm posed by extreme heat. And he has implemented (or has a plan to

implement) the only reasonable mitigation measure that he knows is adequate to reduce or

eliminate the risk—air conditioning—at a pace that disregards the substantial risk of harm the


551 See Findings of Fact, Section F.3, supra.
552 See Findings of Fact, Section F.3, supra.
553 See Findings of Fact, Section F.3, supra.
554 See Findings of Fact, Section F.3, supra.
555 See Findings of Fact, Section F.3, supra.


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inmates face due to their ongoing exposure to extreme heat. Thus, based on the totality of the

evidence, it is substantially likely that Collier has acted with deliberate indifference. Accordingly,

Plaintiffs have shown a likelihood of success on the merits of their Eighth Amendment claim.

                                                B. Irreparable Harm

         “[A] harm is irreparable, in the context of a preliminary injunction, where there is no

adequate remedy at law[.]” Janvey v. Alguire, 647 F.3d 585, 600 (5th Cir. 2011). “When an alleged

deprivation of a constitutional right is involved, . . . most courts hold that no further showing of

irreparable injury is necessary.” Wright & Miller, 11A Fed. Prac. & Proc. Civ. § 2948.1 (3d ed.)

(quoted in Cole, 2017 WL 3049540, at *43).

         Plaintiffs have shown that TDCJ inmates housed in unair-conditioned prisons will

experience irreparable harm, absent court intervention. TDCJ’s own public reports to the Texas

Legislature from 2023 identify that, at minimum, three TDCJ inmates died and 17 more were

injured as a result of the extreme heat in their unair-conditioned living areas last summer.556

Plaintiffs’ evidence, including the testimony of Drs. Skarha, Zanobetti, Vassallo, and Uribe,

demonstrates that extreme heat has injured and killed even more TDCJ inmates, in addition to

those identified by TDCJ itself.557 And the symptoms inmates suffer—standing alone—are

constitutionally significant injuries. See Blackmon v. Garza, 484 F. App’x 866, 872 (5th Cir. 2012)

(headaches, dizziness, nausea, lightheadedness, difficulty catching breath, and blurred vision, even

without medical documentation of the symptoms, are sufficient injuries).558

         The record evidence shows that exposure to the risks of extreme heat itself is also

irreparable injury. See Ball I, 792 F.3d at 593-94. Dr. Vassallo testified that exposure to a heat index


556 See Findings of Fact, Sections D.3 and D.7, supra.
557 See Findings of Fact, Sections D.4 through D.7, supra.
558 See Findings of Fact, Section C.1, supra.


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of 88° or higher poses a substantial risk of adverse outcomes for everyone and, again,

Defendant’s witness, Dr. Leonardson, agreed that temperatures at and above 90° expose inmates

to a serious risk of heat-related illness and death.559 While the Court acknowledges that Collier

has a goal of installing air conditioning throughout the inmate living areas in all TDCJ prisons,

the Court finds that mere goals in the absence of concrete funding and actions do not satisfy the

Eighth Amendment. Cumulatively, hundreds of thousands of inmates will be exposed to

extremely high temperatures in TDCJ’s unair-conditioned prisons in the 25 to 30 years it will take

to air-condition all inmate living areas at the most recent rate of installation. TDCJ inmates will

continue to suffer scores of heat-related deaths and injuries until air conditioning is installed.

         The Court finds there is no adequate remedy at law for these constitutional violations, as

they will continue absent permanent air conditioning. Plaintiffs are at “a significant threat of injury

from the impending action,” this “injury is imminent,” and “money damages would not fully repair

the harm.” Humana, Inc. v. Avram A. Jacobson, M.D., P.A., 804 F.2d 1390, 1394 (5th Cir. 1986).




                        C. The Balance of the Equities and the Public Interest

         The Court now addresses the final point of analysis, which presents an unusual and highly

frustrating challenge. When considering a preliminary injunction, “courts ‘must balance the

competing claims of injury and must consider the effect on each party of the granting or

withholding of the requested relief.’” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008) (citing

Amoco Prod. Co. v. Vill. of Gambell, AK, 480 U.S. 531, 542 (1987)). Preliminary injunctions are

temporary in nature, designed to preserve the status quo and prevent irreparable harm until the


559 See Findings of Fact, Section 3.1, supra.


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court renders a decision on the merits. Sambrano v. United Airlines, Inc., No. 21-11159, 2022 WL

486610, at *4 (5th Cir. Feb. 17, 2022) (citing Canal Auth. of State of Fla. v. Callaway, 489 F.2d 567, 576

(5th Cir. 1974)). In this case, the Court is further restrained by the Prison Litigation Reform Act

(“PLRA”), which provides that a preliminary injunction issued with respect to prison conditions

expires 90 days after its entry. 18 U.S.C. § 3636(a)(2). So, the Court also takes into consideration the

temporal limitations of a preliminary injunction now, versus a lasting permanent injunction at the

conclusion of this case.

        It is usually the case that granting temporary relief will have the effect of benefiting the

movant by preserving the status quo while a case is pending. Here, however, the Court is presented

with the unsettling paradox that ordering preliminary relief in the form of temporary air

conditioning while the case proceeds would be to the detriment to the ultimate goal of permanent

air conditioning. Because the installation of temporary air conditioning would involve a different

design and construction process than that of a permanent system, the considerable funds necessary

to accomplish such temporary relief would be at the expense of the much more elaborate and

expensive process of achieving permanent air conditioning. In other words, the temporary solution

presented here at the preliminary injunction posture risks altering the status quo to make it less

feasible to attain a permanent injunction after this case proceeds to a bench trial and final judgment.

        Significantly, Plaintiffs and Collier share the goal of installing permanent air conditioning in

all TDCJ facilities. When asked if his goal was to have air conditioning in the entire TDCJ system,

Collier responded, “Absolutely.”560 This is not a case where the defendant completely opposes

remedying a constitutional violation. Rather, while the parties disagree over the necessary timeline

and plan, Collier presents evidence that he shares Plaintiffs’ ultimate goal of air conditioning the


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560 Final Hearing Tr. (August 2, 2024), at 179:5


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facilities permanently and agrees that it is attainable. Relatedly, since the hearing on the preliminary

injunction, two bills on this issue have been introduced in the Texas Legislature, which is currently

in session.561 The bills, HB2997 and HB1315, both propose requiring TDCJ facilities to be

maintained at a temperature between 65 degrees and 85 degrees Fahrenheit. HB2997 also proposes

reporting requirements regarding air conditioning.562 If passed, the bill would require TDCJ to report

to the governor and the legislature each incident where the temperature in a TDCJ facility was not

maintained in the required range and where an air conditioning system failed, and the steps that were

taken to ensure the well-being of inmates and staff during those incidents.563 Considering these bills

and Collier’s representations that he moves in good faith towards permanent air conditioning, it

remains at the forefront of the Court’s mind that Plaintiffs, Collier, and members of the legislature

are striving for the same end.

           In navigating a path to that end, the Court sees conflict between ordering temporary relief

now at the preliminary injunction phase and Plaintiffs’ likely permanent injunction at the summary

judgment or trial phase. Logistically, temporary and permanent air conditioning are separate

technologies and outfitting a unit with either requires different processes.564 To temporarily air

condition a unit, TDCJ rents, at a significant cost, stand-alone air conditioning equipment and a

generator to power that equipment.565 By contrast, to install permanent air-conditioning, TDCJ must

employ engineers and architects to investigate the building’s structure and design air conditioning to

fit the building, and then the building must undergo construction to be permanently outfitted with




561 H.R. 2997, 89 Leg., Reg. Sess. (Tex. 2025); H.R. 1315, 89 Leg., Reg. Sess. (Tex. 2025).
562 H.R. 2997, 89 Leg., Reg. Sess. (Tex. 2025); H.R. 1315, 89 Leg., Reg. Sess. (Tex. 2025).
563 H.R. 2997, 89 Leg., Reg. Sess. (Tex. 2025).
564
      Final Hearing Tr. (Aug. 2, 2024) at 84:1–89:20.
565 Id.


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an air-conditioning system.566 TDCJ’s 101 units are of varying sizes and structures, making this an

iterative process. These efforts are particularly intensive for older units, which present unique

challenges such as large windows that remain open at all times.567

         At the hearing, Collier explained the cost of installing air conditioning, both temporary and

permanent. As previously noted, TDCJ estimates that the cost to install temporary air conditioning

equipment and fuel for generators for the seven summer months would be $700-800 million; the

fuel would cost $600 million each year.568 And TDCJ estimates that it will need to purchase 65,000

tons of air conditioning equipment to permanently air condition the whole system.569 The first phase

alone of Collier’s plan to air condition the entire system calls for $225 million.570 If the Court were to

order temporary air conditioning placed in all units, vast amounts of funding and resources would be

necessary to comply. Collier presented evidence that if ordered to install temporary air conditioning,

TDCJ would have to stop efforts towards permanent air conditioning, due to limited staff and

resources.571 This diversion of resources would halt momentum towards installation of permanent

air conditioning, Plaintiffs’ ultimate desired outcome.

         Plaintiffs did present evidence that installing temporary air conditioning in all TDCJ facilities

is possible. But, they largely rely on evidence of TDCJ installing temporary air conditioning to

comply with the court order in Cole and with the Texas Board of Jail Standards during Operation

Lone Star. The instant case is of a much larger scale. The preliminary injunction in Cole concerned

only one unit. See Cole v. Collier, No. 4:14-CV-1698, 2017 WL 3049540, at *46 (S.D. Tex. July 19,



566 Id. at 93:5–98:3.
567 Id. at 89:6–11.
568 Id. at 91:22–92:3; 86:22–87:14; 90:9–91:6.
569 Id. at 154:14–17.
570 Id. at 179:14–180:4.
571 Final Hearing Tr. (August 2, 2024), at 92:9  –15.

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2017). Only three units required temporary air conditioning for Operation Lone Star.572 This case

concerns all TDCJ units, 101 in sum. The Court wholeheartedly agrees with the precedent that

“inadequate resources can never be an adequate justification for depriving any person of his

constitutional rights.” Smith v. Sullivan, 553 F.2d 373, 378 (5th Cir. 1977) (internal citation omitted);

see also Rufo v. Inmates of Suffolk Co. Jail, 502 U.S. 367, 396 (1992) (O’Connor, J., concurring) (“[T]he

lack of resources can never excuse a failure to obey constitutional requirements.”). But the Court is

also mindful that “[p]ublic officials often operate within difficult fiscal constraints; every dollar spent

for one purpose is a dollar that cannot be spent for something else.” Rufo, 502 U.S. at 396

(O’Connor, J., concurring). Regrettably, the Court finds granting temporary relief now undermines

the feasibility of installing permanent air conditioning in all 101 units, thereby remedying the

constitutional violation with finality.

           More, granting temporary relief especially undermines the speed with which TDCJ could

install permanent air conditioning. Temporary air conditioning could not be installed instantly.

There would still be some delay, which then delays a permanent solution, further undercutting

Plaintiffs’ goal of not only receiving permanent relief, but receiving it quickly. In Cole, it took 60 to

90 days to install temporary air conditioning in one unit,573 making it conceivable that temporary air

conditioning could not be installed in all 101 units in the 90 days before a preliminary injunction

would expire under the PLRA. It is a matter of reality and practicality that time and resources would

be more judiciously spent securing permanent air conditioning. The Court acknowledges that

Plaintiffs experience irreparable harm while Collier works to provide permanent air conditioning.

But the Court finds that ordering Collier to expend limited resources on temporary relief does not



572 Final Hearing Tr. (Aug. 2, 2024) at 126:20   –127:10.
573
      Final Hearing Tr. (July 30, 2025), at 187:14–23.

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serve the public interest nor the ultimate interests of either party. Rather, it is in all parties’ best

interest, and the public’s, to move as quickly as possible to install permanent air conditioning.

        Crucially, the Court emphasizes its anticipation that Plaintiffs will ultimately succeed on the

merits. The Court warns Collier that it foresees Plaintiffs being entitled to permanent relief in the

form of expeditious installation of permanent air conditioning in all TDCJ facilities. Collier is

implored take to the necessary steps to be prepared for this result. The Court repeats that TDCJ’s

current plan to install permanent air conditioning—which on the most generous timeline, would not

be complete for another 25 years—is insufficient under the Eight Amendment. While the Court has

recognized the obstacles of funding, investigatory work, designing, and other practical

considerations in its ruling on the preliminary injunction, the Court does not expect those factors to

prevent it from ultimately finding Plaintiffs have a right to an injunction in the form of permanent

air conditioning. Should Collier fail to obtain sufficient funding and demonstrate to the Court a plan

for achieving the goal of providing sufficient air conditioning for the inmates of TDCJ in a timely

manner, the Court reserves its right to revisit its analysis regarding the balance of equities and public

interest in this case.

                                           V. CONCLUSION

        This case concerns the plainly unconstitutional treatment of some of the most vulnerable,

marginalized members of our society. The Court finds that Plaintiffs have met their burden of

establishing a likelihood of success on the merits that Collier is violating the Eighth Amendment’s

prohibition against cruel and unusual punishment. The Court is of the view that excessive heat is

likely serving as a form of unconstitutional punishment. Regrettably, the Court must also

acknowledge that it will take hundreds of millions, if not billions, of dollars to install permanent air

conditioning in every TDCJ facility, and that ordering temporary air conditioning now would have


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the effect of diverting significant limited resources for a process that would neither be adaptable to a

permanent solution nor likely even be complete before the Court’s preliminary (i.e. temporary)

injunction would expire. So, the Court finds it is not in the parties’ or the public interest to issue a

preliminary injunction at this time.

        Accordingly, IT IS ORDERED that Plaintiffs’ motion for preliminary injunction, (Dkt.

50), is DENIED.

        The Court expects that this case will proceed along an expedited timeline to a bench trial.

Keeping this timeline in mind, IT IS FURTHER ORDERED that the parties shall file a joint

proposed scheduling order on or before April 10, 2025. The parties should consult the website for

the U.S. District Court for the Western District of Texas (www.txwd.uscourts.gov), select the

“Judges’ Info” tab, “Standing Orders,” “Austin Division,” and file the joint proposed scheduling

order utilizing District Judge Robert Pitman’s form.

         SIGNED on March 26, 2025.


                                                 _____________________________________
                                                 ROBERT PITMAN
                                                 UNITED STATES DISTRICT JUDGE




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